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                                             Pg 1 of Date
                                            Hearing  117
                                                       te and Time: December 13, 2023 at 2:00 p.m. (ET)
                                                 Objection Deadline: December 6, 2023 at 4:00 p.m. (ET)

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Counsel to the Debtors and
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


    In re:
                                                             Chapter 11
                                           1
    Genesis Global Holdco, LLC, et al.,
                                                             Case No. 23-10063 (SHL)
                       Debtors.


    Genesis Global Capital, LLC,

                       Plaintiff,

             v.                                              Adv. Proc. No. 23-01168 (SHL)

    Digital Currency Group, Inc.,

                       Defendant.


                     NOTICE OF HEARING ON DEBTORS’
           MOTION FOR ENTRY OF (I) CONSENT JUDGMENT AGAINST
        THE DCG PARTIES AND (II) ORDER AUTHORIZING, TO THE EXTENT
     NECESSARY, GGC TO TAKE ACTIONS IN FURTHERANCE OF THE PARTIAL
    REPAYMENT AGREEMENT PURSUANT TO SECTIONS 105(a) AND 363(b) OF THE
    BANKRUPTCY CODE, OR, IN THE ALTERNATIVE, BANKRUPTCY RULE 9019(a)




1
         The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s tax identification
number (or equivalent identifier), are: Genesis Global Holdco, LLC (“Holdco”) (8219); Genesis Global Capital, LLC
(“GGC”) (8564); and Genesis Asia Pacific Pte. Ltd. (“GAP”) (2164R). For the purpose of these Chapter 11 Cases,
the service address for the Debtors is 175 Greenwich Street, Floor 38, New York, NY 10007.
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                 PLEASE TAKE NOTICE that, on January 19, 2023 (the “Petition Date”),
Genesis Global Holdco, LLC and its affiliates Genesis Global Capital, LLC (“GGC”) and
Genesis Asia Pacific Pte. Ltd., as debtors and debtors-in-possession in the above-captioned cases
(collectively, the “Debtors,” and the cases, the “Chapter 11 Cases”), each filed a voluntary
petition for relief under chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101 et seq.
(the “Bankruptcy Code”) with the United States Bankruptcy Court for the Southern District of
New York (the “Court”).

                PLEASE TAKE FURTHER NOTICE that, on November 28, 2023, the Debtors
filed the Debtors’ Motion for Entry of (I) Consent Judgment Against the DCG Parties and (II)
Order Authorizing, to the Extent Necessary, GGC to Take Actions in Furtherance of the Partial
Repayment Agreement Pursuant to Sections 105(a) and 363(b) of the Bankruptcy Code, or, in the
Alternative, Bankruptcy Rule 9019(a) (the “Motion”). A hearing (the “Hearing”) on the Motion
will be held via Zoom on December 13, 2023 at 2:00 p.m. (Prevailing Eastern Time) before
the Honorable Judge Sean H. Lane, United States Bankruptcy Judge, United States Bankruptcy
Court for the Southern District of New York, 300 Quarropas Street, White Plains, New York
10601.

                PLEASE TAKE FURTHER NOTICE that any responses or objections, if any,
to entry of the final order shall be (a) filed with the Bankruptcy Court no later than December 6,
2023 at 4:00 p.m. (Prevailing Eastern Time) (the “Objection Deadline”) and (b) served as
required by the Order Implementing Certain Notice and Case Management Procedures, ECF No.
44 (the “Case Management Order”).

                PLEASE TAKE FURTHER NOTICE that, if no written objections are timely
filed and served with respect to the Motion, the Debtors shall, on or after the Objection Deadline,
submit to the Court orders substantially in the forms annexed thereto as Exhibit D and Exhibit E
to the Motion, which orders the Court may enter with no further notice or opportunity to be
heard.

               PLEASE TAKE FURTHER NOTICE that copies of the Motion can be viewed
and/or obtained (i) by accessing the Court’s website at www.nysb.uscourts.gov (PACER
password required) or (ii) from the Debtors’ notice and claims agent, Kroll Restructuring
Administration LLC, which maintains a website at https://restructuring.ra.kroll.com/genesis or
by calling +1 888 524 2017.

               PLEASE TAKE FURTHER NOTICE that the Hearing may affect your rights.
Please read the Motion carefully and, if you have one available, discuss it with your attorney. (If
you do not have an attorney, you should consider consulting with one.)

                PLEASE TAKE FURTHER NOTICE that if you oppose the relief requested in
the Motion, or if you want the Court to hear your position on the Motion, then you or your
attorney must attend the Hearing. If you or your attorney do not follow the foregoing steps, the
Court may decide that you do not oppose the relief requested in the Motion and may enter orders
granting the relief requested by the Debtors.
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Dated:   November 28, 2023          /s/ Sean A. O’Neal
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                                             Pg 4 of 117
                                    Hearing Date and Time: December 13, 2023 at 2:00 p.m. (ET)
                                         Objection Deadline: December 6, 2023 at 4:00 p.m. (ET)

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Counsel to the Debtors and
Debtors-in-Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


    In re:
                                                             Chapter 11
                                           1
    Genesis Global Holdco, LLC, et al.,
                                                             Case No. 23-10063 (SHL)
                       Debtors.


    Genesis Global Capital, LLC,

                       Plaintiff,
                                                             Adv. Proc. No. 23-01168 (SHL)
             v.

    Digital Currency Group, Inc.,

                       Defendant.


           DEBTORS’ MOTION FOR ENTRY OF (I) CONSENT JUDGMENT
    AGAINST THE DCG PARTIES AND (II) ORDER AUTHORIZING, TO THE EXTENT
     NECESSARY, GGC TO TAKE ACTIONS IN FURTHERANCE OF THE PARTIAL
    REPAYMENT AGREEMENT PURSUANT TO SECTIONS 105(a) AND 363(b) OF THE
    BANKRUPTCY CODE, OR, IN THE ALTERNATIVE, BANKRUPTCY RULE 9019(a)




1
         The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s tax identification
number (or equivalent identifier), are: Genesis Global Holdco, LLC (“Holdco”) (8219); Genesis Global Capital, LLC
(“GGC”) (8564); and Genesis Asia Pacific Pte. Ltd. (“GAP”) (2164R). For the purpose of these Chapter 11 Cases,
the service address for the Debtors is 175 Greenwich Street, Floor 38, New York, NY 10007.
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         Genesis Global Holdco, LLC (“Holdco”) and its affiliated debtors Genesis Global

Capital, LLC (“GGC”) and Genesis Asia Pacific Pte. Ltd. (“GAP”, and together with GGC and

Holdco, the “Debtors”), as debtors and debtors-in-possession in the above-captioned cases (the

“Chapter 11 Cases”), hereby submit this motion (the “Motion”) for entry of (i) a stipulated order

and judgment against Digital Currency Group, Inc. (“DCG”), attached hereto as Exhibit D (the

“Consent Judgment”), and (ii) an order, substantially in the form attached hereto as Exhibit E,

authorizing, to the extent necessary, GGC to take actions in furtherance of that certain Partial

Repayment Agreement, attached hereto as Exhibit B (the “Original Partial Repayment

Agreement”), as amended by the amendment attached hereto as Exhibit C (the “Amendment,”

and the agreement as amended, the “Partial Repayment Agreement”), among GGC, DCG, and

DCG International Investments Ltd. (“DCGI,” and together with DCG, the “DCG Parties”),

pursuant to sections 105(a) and 363(b) of title 11 of the United States Code, 11 U.S.C. §§

101-1532 (the “Bankruptcy Code”), or in the alternative, rule 9019(a) of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”). In support of this Motion, the Debtors rely

upon the Declaration of Thomas Conheeney in Support of Debtors’ Motion for Entry of (I)

Consent Judgment Against the DCG Parties and (II) Order Authorizing, to the Extent Necessary,

GGC to Take Actions in Furtherance of the Partial Repayment Agreement Pursuant to Sections

105(a) and 363(b) of the Bankruptcy Code, or, in the Alternative, Bankruptcy Rule 9019(a) (the

“Conheeney Declaration”).

                                     PRELIMINARY STATEMENT1

         1.      As of the Petition Date, the Debtors’ corporate parent, DCG, owed GGC

approximately $500 million in outstanding principal amounts on account of unsecured loans


1
         Capitalized terms used but not defined herein shall have the meanings ascribed to them elsewhere in this
Motion, the Original Partial Repayment Agreement or the Partial Repayment Agreement, as applicable.
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issued to DCG by GGC pursuant to that certain DCG MLA, which loans became due and

payable in May 2023. Further, as of the Petition Date, DCG affiliate, DCGI, owed GGC

4,550.45173345 BTC and 14,048 BCH in outstanding principal amounts on accounts of

unsecured loans issued to DCGI by GGC pursuant to that certain DCGI MLA, which loans also

became due and payable in May 2023 (collectively, including the DCG and DCGI loans, the

“DCG/DCGI Loans”). After the DCG/DCGI Loans were not paid at maturity, GGC sent a

notice of default and reserved all of its rights and remedies for nonpayment. DCG and DCGI

sent a notice to GGC likewise reserving all of their rights and remedies including, among other

things, their rights to dispute interest owed under the DCG/DCGI Loans and the outstanding

principal amount due under the DCG MLA in light of a setoff DCG effectuated in December

2022.2

         2.      At the time of the default, the Debtors, the Official Committee of Unsecured

Creditors (the “Creditors’ Committee”), the Ad Hoc Group of Genesis Lenders (the “Ad Hoc

Group”), and the DCG Parties were engaged in a mediation overseen by former Bankruptcy

Judge Randall Newsome. In connection with the mediation, the Debtors, the Creditors’

Committee, and DCG negotiated an Agreement in Principle, subject to definitive documentation

and continued negotiation over the terms and conditions of an amended chapter 11 plan, as

described in a presentation filed with the Court on August 29, 2023 [ECF No. 625]. The

Agreement in Principle included, among other things, the principal terms of an agreement by

which GGC would forbear from exercising its right to take action with respect to the defaulted

DCG/DCGI Loans.


2
          On November 16, 2022, DCG asserts that it paid Luno Australia Pty Ltd. certain amounts owed to Luno by
GGC on behalf of GGC, as identified in that certain Notice of Setoff, dated December 15, 2022, in connection with
that certain Limited Guaranty between DCG and Luno and any interest accrued on the setoff amount that has been
paid by DCG to GGC (the “Luno Setoff”). DCG and GGC have reserved all rights with respect to the Luno Setoff.

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         3.      On September 6, 2023, GGC filed the Turnover Actions, seeking to recover all

amounts then-owed under the DCG/DCGI Loans. Shortly thereafter, GGC entered into the

Original Partial Repayment Agreement, pursuant to which the DCG Parties stipulated to the

outstanding amounts under the DCG/DCGI Loans, agreed to a repayment schedule, paid a

forbearance fee of approximately $2.3 million (to be credited against amounts owed to GGC

under the Loans), and agreed to certain covenants, including restrictions on the payment of

dividends, incurrence of liens, and asset sales. In connection with the Original Partial

Repayment Agreement, the DCG Parties have made payments to date totaling approximately

$227 million.

         4.      As the Debtors approached the date on which they asserted they had a right to

terminate the Original Partial Repayment Agreement due to the abandonment of the Agreement

in Principle, the Debtors began discussing with the DCG Parties the terms and conditions of a

potential amendment to the Original Partial Repayment Agreement, with a goal of improving the

terms and obtaining repayment in full of all amounts sought in the Turnover Actions. Although

the Debtors believed they had a right to terminate the Original Partial Repayment Agreement,3

they determined that amending the agreement would be more beneficial to the estates than

terminating it, primarily because the continuation of the agreement would allow the Debtors to

retain the benefit of various covenants embedded in the Original Partial Repayment Agreement.

Over the course of several weeks, the Debtors, led by Tom Conheeney (a member of the Special

Committee) and the Debtors’ legal counsel, Cleary Gottlieb, negotiated the Amendment.

         5.      Under the terms of the Amendment, the DCG Parties agreed to a number of

changes favorable to the Debtors’ estates, including (i) a modified repayment schedule with an


3
       DCG disputes any assertion that the Debtors had the right to terminate the Original Partial Repayment
Agreement.

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upfront payment and continuing monthly payments to GGC; (ii) a waiver of the $10 million hold

back with respect to the CoinDesk sale proceeds that had been included in the Original Partial

Repayment Agreement; (iii) the removal of the Forbearance Fee Crediting Provision; (iv) the

pledging of certain specified Grayscale Ethereum Trust and Grayscale Ethereum Classic Trust

shares as credit support; (v) a requirement that all amounts sought in the Turnover Actions be

paid by April 1, 2024; (vi) immediate entry into the Consent Judgments for the full amounts

sought in the Turnover Actions; and (vii) continuation of all of the covenants in the Original

Partial Repayment Agreement. In exchange, GGC agreed to forbear from seeking execution on

the Consent Judgments unless the DCG Parties default under the Partial Repayment Agreement

as more fully set forth in the Partial Repayment Agreement.

       6.      By this Motion, the Debtors seek entry by this Court of the Consent Judgment

attached hereto as Exhibit D, which awards GGC a judgment against DCG for the DCG

Judgment Amount (as defined in the Consent Judgment). In addition, although the Debtors

believe that GGC has the inherent authority to take actions in furtherance of the Partial

Repayment Agreement without Court approval, out of an abundance of caution and at the request

of the Creditors’ Committee and the Ad Hoc Group, the Debtors seek authority of this Court, to

the extent required, to take actions in furtherance of the Partial Repayment Agreement.

                                        BACKGROUND

  I.   The Master Loan Agreements

       7.      On November 10, 2022, GGC, as lender, and DCG, as borrower, entered into that

certain Amended and Restated Master Loan Agreement (the “DCG MLA”). Pursuant to the

DCG MLA, GGC extended certain loans to DCG (the “DCG Loans”) in the principal aggregate

amount of $500,000,000, of which the Debtors assert $324,500,000 remains outstanding, due,

and payable (the “Undisputed DCG Amount”). DCG’s asserted outstanding, due, and payable

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amount reflects full credit for the Luno Setoff, which the Debtors dispute. Notwithstanding the

dispute between the parties regarding the outstanding amount principal amount owed on the

DCG Loans, for purposes of the Partial Repayment Agreement, the parties have agreed to adopt

the Undisputed Amounts (as defined herein), subject to a full reservation of rights on the Luno

Setoff. In addition to the principal amounts outstanding under the DCG Loans, it is GGC’s

position, as set forth in the Partial Repayment Agreement, that certain additional amounts are due

and owing pursuant to the DCG MLAs, namely certain Late Fees and enforcement costs relating

to the DCG/DCGI Loans (such amounts, the “Disputed DCG Amounts”).

       8.      On June 21, 2019, GGC, as lender, and DCGI, as borrower, entered into that

certain Master Loan Agreement (the “DCGI MLA” and together with the DCG MLA, the

“MLAs”). Pursuant to the DCGI MLA, GGC extended certain loans to DCGI (the “DCGI

Loans”) in the principal aggregate amount of 4,550.45173345 BTC and 14,048 BCH , of which

2,737.77102141 BTC and 14,048 BCH remain outstanding, due, and payable (the “Undisputed

DCGI Amounts” and together with the Undisputed DCG Amounts, the “Undisputed Amounts”).

In addition to the principal amounts outstanding under the DCGI Loans, it is GGC’s view, as set

forth in the Partial Repayment Agreement, that certain additional amounts are due and owing

pursuant to the DCGI MLA, namely certain enforcement costs (such amounts, the “Disputed

DCGI Amounts” and together with the Disputed DCG Amounts, the “Disputed Amounts”).

 II.   The Chapter 11 Cases and Creditor Negotiations

       9.      In the months leading up to the bankruptcy filing, the digital asset industry

experienced tremendous dislocation, stemming from drastic market shifts and decreased investor

confidence in the digital asset markets, which severely and adversely impacted the Debtors’

business. On November 16, 2022, GGC announced a freeze of withdrawals of all assets.



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        10.     After determining that an in-court process was the best path to continue efforts to

reach a consensual resolution to maximize value for the Debtors’ stakeholders, on January 19,

2023, GGC, along with debtor affiliates Holdco and GAP, commenced their Chapter 11 Cases.

        11.     In the months following the Petition Date, the Debtors and their advisors engaged

in extensive negotiations with various advisors to creditor groups, including the Creditors’

Committee, the Ad Hoc Group, Gemini Trust Company, Inc. (“Gemini”), and the DCG Parties to

explore strategic solutions and reach a consensual resolution to these proceedings. While these

negotiations proved productive in narrowing the scope of issues between the various parties, no

global resolution has been reached.

        12.     Nevertheless, the Debtors continued conversations with each creditor group—

individually and collectively—to advance these Chapter 11 Cases and confirm a chapter 11 plan.

As a result, on August 29, 2023, the Debtors, the Creditors’ Committee, and DCG announced an

agreement in principle as set forth in that certain Public Update on Plan Discussions (the

“Agreement in Principle”), annexed to the Debtors’ Notice of Mediation Termination [ECF No.

625].

        13.     Due in large part to the impact of the New York State Attorney General’s

complaint against the Debtors, DCG, Gemini and other parties, the Debtors pivoted away from

the Agreement in Principle and are now pursuing the “No Deal Plan” that seeks to distribute the

Debtors’ available assets and pursue various litigation claims against DCG, Gemini and their

various affiliates.

III.    The Original Partial Repayment Agreement

        14.     On September 6, 2023, GGC filed (i) a complaint in the adversary proceeding

captioned Genesis Global Capital, LLC, v. Digital Currency Group, Inc., Adv. Pro. No. 23-



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01168 (SHL) (the “DCG Turnover Action”), seeking turnover of all Undisputed DCG Amounts,

and (ii) a complaint in the adversary proceeding captioned Genesis Global Capital, LLC, v. DCG

International Investments, Ltd., Adv. Pro. No. 23-01169 (SHL) (the “DCGI Turnover Action,”

and together with the DCG Turnover Action, the “Turnover Actions”), seeking turnover of all

Undisputed DCGI Amounts.

       15.     On September 12, 2023, GGC and the DCG Parties (each a “Party,” and together

the “Parties”) entered into the Original Partial Repayment Agreement, attached hereto as Exhibit

B, pursuant to which the DCG Parties (i) stipulated to certain then-outstanding amounts under

the DCG/DCGI Loans; (ii) agreed that the DCG Parties would make periodic payments on

specified terms to repay the Undisputed Amounts, (iii) agreed that the DCG Parties would pay a

forbearance fee of approximately $2.3 million, to be credited against amounts owed to GGC

under the DCG Loans (the “Forbearance Fee Crediting Provision”); and (iv) agreed to certain

negative covenants, including restrictions on the DCG Parties’ ability to pay dividends, incur

indebtedness and grant liens and certain affirmative covenants, including an obligation to turn

over proceeds from the sale of assets, subject to certain limitations. Conheeney Declaration ¶ 7.

In exchange, and subject to certain terms and conditions, GGC agreed to forbear from exercising

rights against the DCG Parties, including a voluntary stay of the prosecution of the Turnover

Actions unless a DCG Party defaulted on its obligations under the Original Partial Repayment

Agreement. Id.

       16.     The economic terms of the Original Partial Repayment Agreement, including the

payment schedule and the Forbearance Fee Crediting Provision, were substantially similar to the

forbearance arrangement that certain creditors and DCG had negotiated during their discussions




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over the summer of 2023, culminating in the announcement of the Agreement in Principle.

Conheeney Declaration ¶ 8.

       17.     The Original Partial Repayment Agreement also included additional terms and

conditions that were not part of the Agreement in Principle. For example, unlike the Agreement

in Principle, the Original Partial Repayment Agreement (i) required the DCG Parties to start

making payments immediately, rather than delaying such payments until entry into the Global

Restructuring Agreement among the Debtors, the DCG Parties and other key stakeholders, and

(ii) allowed GGC to terminate the Original Partial Repayment Agreement in the exercise of its

fiduciary duties. Conheeney Declaration ¶ 9.

       18.     In accordance with the terms of the Original Partial Repayment Agreement, the

DCG Parties made payments totaling approximately $227 million in connection with the Partial

Repayment Agreement. Conheeney Declaration ¶ 10; see also DCG Turnover Action, ECF Nos.

4-6; DCGI Turnover Action, ECF Nos. 7-9.

IV.    The Partial Repayment Agreement

       19.     As part of ongoing discussions concerning the terms and conditions of a potential

amendment to the Original Partial Repayment Agreement, the Debtors sought information from

the DCG Parties about their ongoing liquidity and ability to pay amounts due under the

DCG/DCGI Loans. Conheeney Declaration ¶ 11. Among other things, the Debtors and their

advisors obtained on a confidential basis balance sheet and other financial information from the

DCG Parties, which the Debtors shared subject to existing confidentiality agreements with

professionals advising the Creditors’ Committee in real time. Ultimately, the information was

shared subject to confidentiality agreements with members of the Creditors’ Committee and the

Ad Hoc Group on November 21, 2023. Id.



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       20.     As of October 29, 2023, the Global Restructuring Agreement had not been

executed, and the Debtors had not filed an amended chapter 11 plan and disclosure statement

consistent with the Agreement in Principle. Conheeney Declaration ¶ 12. As such, it is GGC’s

position that each of GGC and the DCG Parties was, as of October 29, 2023, entitled to terminate

the Original Partial Repayment Agreement. Id. Termination of the Original Partial Repayment

Agreement would have allowed GGC to re-commence the Turnover Actions, but would have

also relieved the DCG Parties from complying with the affirmative and negative covenants

imposed on each of the DCG Parties by the Original Partial Repayment Agreement. Rather than

immediately exercise GGC’s right to terminate, the Special Committee of the Board of Directors

of Genesis Global Holdco, LLC (the “Special Committee”) made the decision, after consultation

with the Debtors’ advisors, to retain the favorable contractual restrictions of the Original Partial

Repayment Agreement and continue to negotiate additional protections through an amendment

to the Original Partial Repayment Agreement. Id.

       21.     In connection with negotiations and to solicit input from creditor constituencies,

the Special Committee met with members of the Creditors’ Committee and its advisors on

November 2, 2023, and met with members of the Creditors’ Committee, the Ad Hoc Group and

their respective advisors on November 22, 2023. The Debtors’ advisors also had numerous

discussions about the Partial Repayment Agreement with the advisors to the Creditors’

Committee and Ad Hoc Group over the past few weeks prior to the filing of this Motion.

Conheeney Declaration ¶ 13.

       22.     On November 28, 2023, GGC and the DCG Parties entered into that certain

Partial Repayment Agreement, as amended, pursuant to which the parties (i) further stipulated to

certain presently-outstanding amounts under the DCG/DCGI Loans; (ii) agreed on a modified



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schedule by which the DCG Parties would make periodic payments on specified terms to repay

the Undisputed Amounts; (iii) agreed to eliminate the Forbearance Fee Crediting Provision, (iv)

agreed to remove the right to withhold $10 million in proceeds from the sale of CoinDesk; (v)

agreed to repay all Undisputed Amounts by no later than April 1, 2024, and (vi) agreed to entry

of the Consent Judgment, attached hereto as Exhibit D, and a similar Consent Judgment against

DCGI for the full payment of the Undisputed Amounts. In exchange, GGC agreed to forbear

from executing on the Consent Judgments except upon the occurrence of a default or termination

event pursuant to the terms of the Partial Repayment Agreement.

                                 JURISDICTION AND VENUE

       23.     The United States Bankruptcy Court for the Southern District of New York (the

“Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the

Amended Standing Order of Reference from the United States District Court for the Southern

District of New York dated January 31, 2012 (Preska, C.J.). This matter is a core proceeding

within the meaning of 28 U.S.C. § 157(b)(2) and the Court may enter a final order consistent

with Article III of the United States Constitution.

       24.     Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       25.     The statutory bases for the relief requested herein are sections 105(a) and 363(b)

of the Bankruptcy Code and Bankruptcy Rules 2002, 6004 and 9019(a).

                                     RELIEF REQUESTED

       26.     By this Motion, the Debtors request (i) entry of the Consent Judgment

substantially in the form attached hereto as Exhibit D for the full payment of the Undisputed

DCG Amounts in accordance with the terms of the Partial Repayment Agreement, and (ii) entry

of an order substantially in the form attached hereto as Exhibit E, pursuant to sections 105(a)

and 363(b) of the Bankruptcy Code, or in the alternative, Bankruptcy Rule 9019(a), authorizing

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GGC, to the extent required, to take actions in furtherance of the Partial Repayment Agreement

(together, the “Proposed Orders”).

                                       BASIS FOR RELIEF

  I.   Entry of the Consent Judgment is Appropriate.

       27.     As contemplated by the Partial Repayment Agreement, (i) GGC and the DCG

Parties executed, and consented to entry of, the Consent Judgments, and (ii) GGC agreed to

forbear from seeking execution of the Consent Judgments except upon the occurrence of a

default or termination event as set forth in the Partial Repayment Agreement. As such, the

Debtors respectfully request entry of the Consent Judgment attached hereto as Exhibit D. As

stated in the Partial Repayment Agreement and in the Consent Judgments signed by the DCG

Parties and filed with the Court, the DCG Parties have consented to entry of the Consent

Judgments.

 II.   The Court Should Authorize, to the Extent Necessary, the Debtors to Act in
       Furtherance of the Partial Repayment Agreement Under Sections 105(a) and 363(b)
       of the Bankruptcy Code.

       28.     The Debtors believe that GGC is authorized to take actions in furtherance of the

Partial Repayment Agreement without Court approval. Nonetheless, out of an abundance of

caution and at the request of the Creditors’ Committee and the Ad Hoc Group, the Debtors seek

authority of this Court, to the extent required, to take actions in furtherance of the Partial

Repayment Agreement.

               A.    Acting in Furtherance of the Partial Repayment Agreement is
               Supported by the Debtors’ Sound Business Judgment.

       29.     A debtor “after notice and a hearing, may use, sell, or lease, other than in the

ordinary course of business, property of the estate.” 11 U.S.C. § 363(b); see also Fed. R. Bankr.

P. 6004 (detailing the procedures by which a debtor may use, sell, or lease estate property


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outside of the ordinary course of its business). Courts consistently hold that a cause of action

held by the debtor constitutes property of the estate. See In re Soundview Elite Ltd., 565 B.R.

534, 543–44 (Bankr. S.D.N.Y. 2017) (“The Bankruptcy Code defines ‘property’ of a debtor’s

estate to include ‘all legal or equitable interests of the debtor in property as of the

commencement of the case,’ . . . includ[ing] ‘the estate’s causes of action.’” (first quoting 11

U.S.C. § 541(a)(1); then quoting Picard v. Madoff (In re Bernard L. Madoff Inv. Sec. LLC), 458

B.R. 87, 123 (Bankr. S.D.N.Y. 2011)).

        30.     When performing an analysis under section 363(b), courts in the Second Circuit

and elsewhere have ruled that a debtor’s decision to use estate property must be supported by the

debtor’s sound business judgment. Comm. of Equity Sec. Holders v. Lionel Corp. (In re Lionel

Corp.), 722 F.2d 1063, 1071 (2d Cir. 1983) (holding that, when determining an application to

“use” assets under section 363(b), a judge must find from the evidence presented a good business

reason to grant such application); In re Roman Cath. Diocese of Rockville Ctr., 647 B.R. 69, 75

(Bankr. S.D.N.Y. 2022) (same); In re AMR Corp., 485 B.R. 279, 287–88 (Bankr. S.D.N.Y.)

(SHL), aff'd, 730 F.3d 88 (2d Cir. 2013) (applying the sound business judgment standard to a

debtor’s request to use estate assets pursuant to § 363(b)). Once a debtor sets forth a good

business reason for the use of property under review, there “is a presumption that in making a

business decision the [debtor] acted on an informed basis, in good faith and in the honest belief

that the action taken was in the best interests of the company.” In re 8 W. 58TH St. Hosp., LLC,

No. 14-11524 (SHL), 2017 WL 3575856, at *3 (Bankr. S.D.N.Y. Aug. 4, 2017) (internal

quotations omitted). This analysis applies where the proposed use of assets involves claims and

causes of action held by a debtor. See, e.g., In re Roman Cath. Diocese of Rockville Ctr., 647

B.R. at 76 (finding debtor exercised reasonable business judgment under § 363(b) where it



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surrendered insurance rights and other indemnification claims in exchange for receiving releases

from sexual abuse claims).

       31.     Here, the Debtors’ decision to act in furtherance of the Partial Repayment

Agreement rather than immediately move to prosecute the Turnover Actions is well-supported

by the Debtors’ sound business judgment. In particular, the terms of the Partial Repayment

Agreement provide immediate significant and near-term benefits to GGC and its creditors, as

compared to the risks associated with the termination of the Original Partial Repayment

Agreement and prosecution of the Turnover Actions. Conheeney Declaration ¶ 15.

       32.     First¸ as amended, the Partial Repayment Agreement provides that GGC will

receive a stream of payments and a pledge of collateral by DCG and DCGI, resulting in a full

repayment of all Undisputed Amounts by April 1, 2024. Specifically, the Debtors will receive

over $200 million in value by January 5, 2024 pursuant to the terms of the Partial Repayment

Agreement, thereby reducing the Debtors’ exposure to DCG in the near term. Conheeney

Declaration ¶ 16.

       33.     Second, the Partial Repayment Agreement eliminates the need for litigation of the

Turnover Actions. Although GGC believes that its likelihood of success in the Turnover Actions

is assured, litigating those actions would take time, including potential efforts by the DCG

Parties to pursue discovery, counterclaims, and possibly appeals. Id. at ¶ 17. Litigation of the

Turnover Actions would also drain estate resources through ongoing expenditure of legal fees.

Id. By virtue of the Partial Repayment Agreement, GGC will obtain entry by this Court of the

Consent Judgments against the DCG Parties for the full Undisputed Amounts due and owing

pursuant to the DCG/DCGI Loans—i.e., the same amounts sought by the Turnover Actions. Id.

In the event of a nonpayment or other default under the Partial Repayment Agreement by either



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of the DCG Parties, GGC will have the right to execute on the Consent Judgments to collect the

full amounts sought under the Turnover Actions. Id.

       34.     Third, as a result of the Amendment, the DCG Parties will continue to be bound

by the covenants of the Original Partial Repayment Agreement, including those related to

prohibitions on the payment of dividends, limitations on the incurrence of indebtedness and

liens, and the obligation to turn over proceeds from extraordinary sales. Id. at ¶ 18. These

provisions will ensure that the DCG Parties are focused on repaying GGC and will further de-

risk the estates’ exposure to the DCG Parties. Id. Given the uncertainty facing the DCG Parties,

including as a result of the New York Attorney General’s complaint seeking an order requiring

DCG to cease doing business in New York, as well as the inherent volatility in the

cryptocurrency industry, reducing risk and obtaining payment in short order is extremely

important to the Special Committee. Id.

       35.     Fourth, on the basis of cash flow and balance sheet information obtained from the

DCG Parties, the Special Committee believes that the DCG Parties are not in a position to

immediately repay in full the Undisputed Amounts. Id. at ¶ 19. Any immediate judgment on the

Turnover Actions could have a value-destructive impact on one or both of the DCG Parties. This

would, at a minimum, put at risk or further delay GGC’s receipt of additional payments on the

DCG/DCGI Loans, complicate these Chapter 11 Cases, and cause GGC to incur significant legal

costs. Id. Therefore, if GGC continued to pursue the Turnover Actions, it could force the DCG

Parties to obtain immediate financing to repay the Undisputed Amounts. Id. Any such

refinancing would require the DCG Parties to pay significant commitment fees, pay high interest

rates and agree to onerous contractual limitations that would benefit DCG’s new secured lenders

to the disadvantage of the Debtors’ estates. Id. In addition, it would entail the granting of liens



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and encumbrances that would be superior to GGC’s unsecured claims, and bring a new party to

the table (i.e., DCG’s new secured lender) that could impose restrictive covenants and consent

rights over any consensual resolution with the Debtors’ estates. Id. By contrast, the amounts

agreed to be paid under the Partial Repayment Agreement’s payment provisions are reasonable

and consistent with what the Special Committee believes that the DCG Parties can pay, while

allowing DCG to continue to generate revenues that can be put toward further payments to GGC.

Id.

                B.     The Court Should Approve Debtors’ Actions Taken in Furtherance of
                the Partial Repayment Agreement Pursuant to Its Equitable Powers Under
                Section 105(a) of the Bankruptcy Code.

          36.   Under section 105 of the Bankruptcy Code, the Court has broad discretion to

“carry out the provisions of this title.” 11 U.S.C. § 105(a); see also Croton River Club, Inc. v.

Half Moon Bay Homeowners Ass’n, Inc. (In re Croton River Club, Inc.), 52 F.3d 41, 45 (2d Cir.

1995) (holding that bankruptcy courts have broad equity power to manage the affairs of debtors);

Momentum Mfg. Corp. v. Emp. Creditors Comm. (In re Momentum Mfg. Corp.), 25 F.3d 1132,

1136 (2d Cir. 1994) (“[B]ankruptcy courts are courts of equity, empowered to invoke equitable

principles to achieve fairness and justice in the reorganization process.”); In re Raytech Corp.,

190 B.R. 149, 151 (Bankr. D. Conn. 1995) (noting, while considering the debtor’s motion to

“use” assets pursuant to section 363(b), that “[a] bankruptcy judge must have substantial freedom

to tailor his orders to meet differing circumstances” (quoting In re Lionel Corp., 722 F.2d at

1069)).

          37.   The purpose of section 105(a) is “to assure the bankruptcy courts power to take

whatever action is appropriate or necessary in aid of the exercise of their jurisdiction.” 2 Collier

on Bankruptcy ¶ 105.01 (16th ed. 2023). Such power conforms to the Court’s inherent equitable

authority. See, e.g., U.S. v. Energy Res. Co., 495 U.S. 545, 549 (1990). The relief requested

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herein is both necessary and appropriate to allow the Debtors to take significant steps forward in

resolving disputes between GGC, the Debtors’ parent company, DCG, and its affiliate, DCGI,

regarding the Undisputed Amounts. Accordingly, the Court should (i) enter the Consent

Judgment and (ii) to the extent necessary, authorize GGC to take any other actions in furtherance

of the Partial Repayment Agreement.

III.   In the Alternative, the Debtors Are Authorized Pursuant to Bankruptcy Rule
       9019(a) to Settle Claims and Perform Obligations Under the Partial Repayment
       Agreement.

       38.     Bankruptcy Rule 9019(a) provides, in the relevant part, that “[o]n motion by the

[debtor in possession] and after notice and a hearing, the court may approve a compromise or

settlement.” Bankruptcy Rule 9019(a) “empowers the Bankruptcy Court to approve

compromises and settlements if they are in the best interests of the Estates.” Vaughn v. Drexel

Burnham Lambert Grp., Inc. (In re Drexel Burnham Lambert Grp., Inc.), 134 B.R. 499, 505

(Bankr. S.D.N.Y. 1991). Accordingly, in addition to sections 105(a) and 363(b), or in the

alternative, the Court is authorized to approve the Partial Repayment Agreement as a fair and

reasonable settlement under Bankruptcy Rule 9019(a).

       39.     In order to approve a compromise or a settlement under Bankruptcy Rule 9019(a),

the bankruptcy court must find that the compromise or settlement is “in the best interests of the

estate.” In re Purofied Down Prods. Corp., 150 B.R. 519, 523 (S.D.N.Y. 1993) (citation

omitted). In making this finding, the bankruptcy court should form an informed and independent

judgment as to whether a proposed compromise is in the best interests of the debtor’s estate. Id.

However, the settlement need not result in the best possible outcome for the debtor, and instead

only must not “fall below the lowest point in the range of reasonableness.” In re Drexel

Burnham Lambert Grp., Inc., 134 B.R. at 505 (citation omitted).



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       40.     In determining whether a compromise or settlement should be approved under

Bankruptcy Rule 9019(a), the bankruptcy court should not substitute its own judgment for that of

the debtor. See In re Neshaminy Off. Bldg. Assocs., 62 B.R. 798, 803 (E.D. Pa. 1986). In fact,

the bankruptcy court may consider the opinions of the debtor-in-possession or the trustee that the

settlement is fair and reasonable. See Nellis v. Shugrue, 165 B.R. 115, 122–23 (S.D.N.Y. 1994).

Furthermore, the bankruptcy court need not conduct a “mini-trial” to decide the numerous issues

of law and fact raised by the settlement, but rather must only “canvass the issues and see whether

the settlement ‘fall[s] below the lowest point in the range of reasonableness.’” Purofied Down

Prods., 150 B.R. at 522 (citations omitted); see also In re W.T. Grant Co., 699 F.2d 599, 608 (2d

Cir. 1983); In re Frost Bros., Inc., No. 91 Civ. 5244 (PNL), 1992 U.S. Dist. LEXIS 18301, at

*16 (S.D.N.Y. Nov. 30, 1992). This requirement “reflect[s] the considered judgment that little

would be saved by the settlement process if bankruptcy courts could approve settlements only

after an exhaustive investigation and determination of the underlying claims,” Purofied Down

Prods., 150 B.R. at 522–23, and the fact that settlements are “favored and, in fact, encouraged”

in bankruptcy. Nellis, 165 B.R. at 123 (“[T]he general rule [is] that settlements are favored and,

in fact, encouraged by the approval process outlined above.”).

       41.     The Partial Repayment Agreement is the result of good faith and arm’s length

negotiations between GGC and the DCG Parties, and is well within the range of reasonableness.

As already discussed herein, the Partial Repayment Agreement is the result of hard-fought

negotiations between the parties and features favorable contractual terms, including (i) a

repayment schedule providing for full repayment of the Undisputed Amounts by April 1, 2024;

(ii) Consent Judgments against the DCG Parties that may be executed if the DCG Parties default




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on their obligations under the Partial Repayment Agreement; and (iii) continuing covenants.

Conheeney Declaration ¶ 14.

        42.     Further, the Partial Repayment Agreement allows the Debtors to avoid costly and

time-consuming litigation associated with prosecuting the Turnover Actions, pursuant to which

the DCG Parties could seek discovery, and which cases themselves could result in appeals that

would take months, if not longer, to resolve. Even if GGC were to continue to prosecute the

Turnover Actions, rather than entering into the Partial Repayment Agreement and Consent

Judgments, the Debtors might not reach final judgment in the Turnover Actions until after April

2024, especially if appeals were pursued. Thus, entry into the Partial Repayment Agreement

would lead to a substantially similar result as would a successful litigation. Conheeney

Declaration ¶ 17. Moreover, the Partial Repayment Agreement minimizes the risk that DCG

Parties would need to seek refinancing of the DCG/DCGI Loans that would prejudice the

Debtors’ estates. Conheeney Declaration ¶ 18.

        43.     Critically, the Partial Repayment Agreement provides for full payment of all

amounts sought in the Turnover Actions by April 1, 2024. It also provides a key safety valve in

the form of the Consent Judgments, which GGC can immediately use to execute on the DCG

Parties’ assets in the event of a default by the DCG Parties. Conheeney Declaration ¶ 17. On its

terms, if viewed as a settlement, the Partial Repayment Agreement represents a fair and

reasonable settlement of the Turnover Actions that is squarely in the best interest of the estate

and its creditors.

        44.     Further, the Debtors’ decision to enter into the Partial Repayment Agreement is

heavily informed by the Debtors’ review of the DCG Parties’ current financial information,




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which leads the Debtors to believe that immediate payment in full by the DCG Parties is not

practicable. Conheeney Declaration ¶¶ 11, 19.

       45.     Finally, the Partial Repayment Agreement is the product of extensive arms’ length

negotiations among the Debtors and the DCG Parties and their respective advisors. The Partial

Repayment Agreement is an exercise of the sound business judgment of the Debtors and has

been approved by the Special Committee following consultation with the Debtors’ legal and

financial advisors, including a cost-benefit analysis of the costs and risks associated with

litigating the Turnover Actions rather than entering into the Consent Judgments and repayment

structure contemplated in the Partial Repayment Agreement. Conheeney Declaration ¶ 12. In

addition, the Debtors and the Special Committee have kept the Creditors’ Committee and Ad

Hoc Group informed and solicited their input on the terms of the Partial Repayment Agreement,

including attending meetings with creditor constituencies on November 2 and November 21,

2023. Conheeney Declaration ¶ 11. As a result, the Special Committee has concluded that the

Partial Repayment Agreement is in the best interests of the Debtors’ estates and their creditors.

Conheeney Declaration ¶ 20.

       46.     Based on the foregoing, the Partial Repayment Agreement is fair, equitable and

reasonable, and constitutes a proper exercise of the Debtors’ sound business judgment.

Accordingly, in the event the Court does not approve the Motion pursuant to section 363(b), it

should approve the Partial Repayment Agreement as a settlement under Bankruptcy Rule

9019(a).



                                         CONCLUSION

       47.     The Debtors respectfully request that the Court (i) enter the Consent Judgment in

the form attached hereto as Exhibit D, and (ii) to the extent required, authorize the Debtors to

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take actions in furtherance of the Partial Repayment Agreement pursuant to sections 105(a) and

363(b) of the Bankruptcy Code, or, in the alternative, Bankruptcy Rule 9019(a), by entry of an

order substantially in the form attached hereto as Exhibit E.

                            REQUEST FOR WAIVER OF STAY

         48.   In the event the Court grants the relief requested pursuant to section 363(b) of the

Bankruptcy Code, as discussed herein, there are immediate and material benefits to the Debtors,

and immediate entry and implementation of the Order is of vital importance to the Debtors. To

implement the foregoing successfully, the Debtors seek a waiver of the fourteen-day stay of an

order authorizing the use, sale, or lease of property under Bankruptcy Rule 6004(h) to the extent

that such rule applies.

                                               NOTICE

         49.   The Debtors have provided notice of this Motion in accordance with the

procedures set forth in the Order Implementing Certain Notice and Case Management

Procedures [ECF No. 44]. The Debtors submit that, in light of the nature of the relief requested,

no other or further notice need be provided.

                                    NO PRIOR REQUEST

         50.   No prior request for the relief requested herein has been made to this or any other

Court.




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                                         CONCLUSION

               WHEREFORE, for the reason set forth herein the Debtors respectfully request

that this Court (a) enter the Proposed Orders, substantially in the forms attached hereto as

Exhibit D and Exhibit E, and (b) grant such other and further relief as is just and proper.

  Dated:     November 28, 2023               /s/ Sean A. O’Neal
             New York, New York              Sean A. O’Neal
                                             Luke A. Barefoot
                                             Jane VanLare
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                                             Debtors-in-Possession




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                                      EXHIBIT A

                                 Conheeney Declaration
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Counsel to the Debtors
and Debtors-in-Possession


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


    In re:
                                                             Chapter 11
    Genesis Global Holdco, LLC, et al.,1
                                                             Case No. 23-10063 (SHL)
                       Debtors.


    Genesis Global Capital, LLC,

                       Plaintiff,
                                                             Adv. Proc. No. 23-01168 (SHL)
             v.

    Digital Currency Group, Inc.,

                       Defendant.


        DECLARATION OF THOMAS CONHEENEY IN SUPPORT OF
      DEBTORS’ MOTIONS FOR ENTRY OF (I) CONSENT JUDGMENT
AGAINST THE DCG PARTIES AND (II) ORDER AUTHORIZING, TO THE EXTENT
 NECESSARY, GGC TO TAKE ACTIONS IN FURTHERANCE OF THE PARTIAL
REPAYMENT AGREEMENT PURSUANT TO SECTIONS 105(a) AND 363(b) OF THE
BANKRUPTCY CODE, OR, IN THE ALTERNATIVE, BANKRUPTCY RULE 9019(a)



1
         The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s tax identification
number (or equivalent identifier), are: Genesis Global Holdco, LLC (“Holdco”) (8219); Genesis Global Capital, LLC
(“GGC”) (8564); and Genesis Asia Pacific Pte. Ltd. (“GAP”) (2164R). For the purpose of these Chapter 11 Cases,
the service address for the Debtors is 175 Greenwich Street, Floor 38, New York, NY 10007.

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                 I, Thomas Conheeney, hereby declare under penalty of perjury, pursuant to

section 1746 of title 28 of the United States Code, as follows:

         1.      I submit this declaration (the “Declaration”) in support of the Debtors’ Motion for

Entry of (I) Consent Judgments Against the DCG Parties and (II) Order Authorizing, to the Extent

Necessary, GGC to Take Actions in Furtherance of the Partial Repayment Agreement Pursuant to

Sections 105(a) and 363(b) of the Bankruptcy Code, or, in the Alternative, Bankruptcy Rule

9019(A) (the “Motion”).2

         A.      Background

         2.      I am a member of the Special Committee of the Board of Directors (the “Special

Committee”) of Genesis Global Holdco, LLC, a limited liability company organized under the

laws of Delaware (“Holdco”), which owns 100% of the interest in Genesis Global Capital, LLC

(“GGC”), Genesis Asia Pacific Pte. Ltd. (“GAP”) and Holdco’s other, non-debtor subsidiaries. I

have held my current title since August 2022.

         3.      I am generally familiar with the day-to-day operations and affairs of the Debtors

and their subsidiaries (together with the Debtors, the “Genesis Entities”). Except as otherwise

indicated, all statements in this Declaration are based upon my personal knowledge attained while

working with the Genesis Entities; my discussions with members of the Special Committee;

discussions with other members of the Debtors’ team and the Debtors’ other advisors; my review

of relevant documents; and my views based upon my professional experience.

         4.      To the extent that the Debtors learn that any information provided herein is

materially inaccurate, the Debtors will act promptly to notify the Court and other parties; however,

I believe all information herein to be true to the best of my knowledge, information and belief. I



2
         All capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Motion.

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am authorized to submit this Declaration on behalf of the Debtors and, if called upon to testify, I

could and would testify competently to the facts set forth herein.

       B.      Maturity of the DCG Loans and the DCGI Loans

       5.      I understand that, as of the Petition Date, the principal amounts outstanding, due,

and owing by the DCG Parties to GGC under the DCG Loans and the DCGI Loans were

approximately (i) $500 million and (ii) 4,550.45173345 BTC, and 14,048 BCH, pursuant to the

DCG MLA and the DCGI MLA, respectively.

       C.      Filing of Turnover Actions

       6.      On September 6, 2023, GGC commenced the Turnover Actions against DCG and

DCGI, seeking to recover Undisputed Amounts owed to GGC by DCG and DCGI under the DCG

Loans and the DCGI Loans, respectively.

       D.      Entry into Partial Repayment Agreement

       7.      On September 12, 2023, GGC and the DCG Parties entered into the Original Partial

Repayment Agreement, pursuant to which, among other things, the DCG Parties (i) stipulated to

certain then-outstanding amounts under the DCG Loans and the DCGI Loans; (ii) agreed that the

DCG Parties would make periodic payments on specified terms to repay the Undisputed Amounts;

(iii) agreed that the DCG Parties would pay a forbearance fee of approximately $2.3 million, to be

credited against amounts owed to GGC under the DCG Loans (the “Forbearance Fee Crediting

Provision”); (iv) agreed to certain negative covenants, including restrictions on the DCG Parties’

ability to pay dividends, incur indebtedness, and grant liens, and certain affirmative covenants,

including an obligation to turn over proceeds from the sale of assets, subject to certain limitations;

and (v) agreed that any Party would be permitted to terminate the Original Partial Repayment

Agreement in the event that, by October 29, 2023, the Global Restructuring Agreement had not

been executed, or the Debtors had not filed an amended chapter 11 plan and disclosure statement

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consistent with the Agreement in Principle (as defined below). In exchange, and subject to certain

terms and conditions, GGC agreed to forbear from exercising rights against the DCG Parties,

including a voluntary stay of the prosecution of the Turnover Actions unless a DCG Party defaulted

on its obligations under the Original Partial Repayment Agreement.

       8.      The economic terms of the Original Partial Repayment Agreement, including the

payment schedule and the Forbearance Fee Crediting Provision, were substantially similar to the

forbearance arrangement that the Debtors, the Creditors’ Committee, and DCG had negotiated

during their discussions over the summer of 2023, culminating in the announcement of an

Agreement in Principle, dated August 29, 2023, annexed to the Debtors’ Notice of Mediation

Termination [ECF No. 625] (the “Agreement in Principle”).

       9.      The Original Partial Repayment Agreement also included additional terms and

conditions that were not part of the Agreement in Principle. For example, unlike the Agreement

in Principle, the Original Partial Repayment Agreement (i) required the DCG Parties to start

making payments immediately, rather than delaying such payments until entry into a definitive

settlement agreement (the “Global Restructuring Agreement”) among the Debtors, the DCG

Parties and other key stakeholders, and (ii) allowed GGC to terminate the Original Partial

Repayment Agreement in the exercise of its fiduciary duties. See Sections 7(a)(viii) and 7(c) of

the Original Partial Repayment Agreement.

       10.     I understand that DCG Parties have made payments totaling approximately $227

million in connection with the Original Partial Repayment Agreement, thereby reducing GGC’s

credit risk to the DCG Parties and increasing assets available for distribution to the Debtors’

creditors.




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       E.     Negotiation of the Amendment

       11.    As a member of the Special Committee, I was tasked with the responsibility of

negotiating the terms and conditions of a potential amendment to the Original Partial Repayment

Agreement. On or about October 24, 2023, I began to have discussions with the DCG Parties

about the Amendment. As part of these discussions, the Debtors sought information from the

DCG Parties about their ongoing liquidity and ability to pay amounts due under the DCG Loans

and the DCGI Loans.       Among other things, the Debtors and their advisors obtained on a

confidential basis balance sheet and other financial information from the DCG Parties, which the

Debtors shared subject to existing confidentiality agreements with professionals advising the

Creditors’ Committee in real time.        Ultimately, the information was shared subject to

confidentiality agreements with members of the Creditors’ Committee and the Ad Hoc Group on

November 21, 2023.

       12.    As of October 29, 2023, the Debtors had a right to terminate the Original Partial

Repayment Agreement because the Global Restructuring Agreement had not been executed, and

the Debtors had not filed an amended chapter 11 plan and disclosure statement consistent with the

Agreement in Principle. Termination of the Original Partial Repayment Agreement would have

allowed GGC to re-commence the Turnover Actions, but would have also relieved the DCG Parties

from complying with the affirmative and negative covenants imposed by the Original Partial

Repayment Agreement. The Special Committee made the decision, after consultation with the

Debtors’ advisors, to retain these favorable contractual restrictions and continue to negotiate

additional protections through an amendment to the Original Partial Repayment Agreement.

       13.    In connection with our negotiations and to solicit input from creditor constituencies,

the Special Committee met with members of the Creditors’ Committee and its advisors on

November 2, 2023, and met with members of the Creditors’ Committee, the Ad Hoc Group and
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their respective advisors on November 22, 2023. The Debtors’ advisors also had numerous

discussions about the Partial Repayment Agreement with the advisors to the Creditors’ Committee

and Ad Hoc Group over the past few weeks.

       14.     These negotiations led to GGC and the DCG Parties’ execution of the Amendment,

pursuant to which the DCG Parties: (i) further stipulated to certain presently-outstanding amounts

under the DCG Loans and the DCGI Loans; (ii) agreed on a modified schedule by which the DCG

Parties would make periodic payments on specified terms to repay the Undisputed Amounts; (iii)

agreed to eliminate the Forbearance Fee Crediting Provision; (iv) agreed to remove the right to

withhold $10 million in proceeds from the sale of CoinDesk; (v) agreed to repay all Undisputed

Amounts by no later than April 1, 2024; and (vi) agreed to entry of the Consent Judgments against

the DCG Parties for the full payment of the Undisputed Amounts. In exchange, GGC agreed to

forbear from seeking execution of the Consent Judgments except upon the occurrence of a default

or termination event pursuant to the terms of the Partial Repayment Agreement.

       15.     I believe that the terms of the Amendment provide significant and near-term

benefits to GGC and their creditors, compared to termination of the Original Partial Repayment

Agreement or immediate prosecution of the Turnover Actions.

       16.     First¸ as amended, the Partial Repayment Agreement provides that GGC will

receive a stream of payments and a pledge of collateral by DCG and DCGI, resulting in a full

repayment of all Undisputed Amounts by April 1, 2024. Specifically, the Debtors will receive

over $200 million in value by January 5, 2024 pursuant to the terms of the Partial Repayment

Agreement, thereby reducing the Debtors’ exposure to DCG in the near term.

       17.     Second, the Partial Repayment Agreement eliminates the need for litigation of the

Turnover Actions. Although GGC believes that its likelihood of success in the Turnover Actions



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is assured, litigating those actions would take time, including potential efforts by the DCG Parties

to pursue discovery, counterclaims, and possibly appeals. Litigation of the Turnover Actions

would also drain estate resources through ongoing expenditure of legal fees. By virtue of the

Partial Repayment Agreement, GGC will obtain entry by this Court of the Consent Judgments

against the DCG Parties for the full Undisputed Amounts due and owing pursuant to the Loans—

i.e., the same amounts sought by the Turnover Actions. In the event of a nonpayment or other

default under the Partial Repayment Agreement by either of the DCG Parties, GGC will have the

right to execute on the Consent Judgments to collect the full amounts sought under the Turnover

Actions. Even if GGC were to continue to prosecute the Turnover Actions, rather than entering

into the Partial Repayment Agreement, the Debtors might not reach final judgment in the Turnover

Actions until after April 2024, especially if appeals were pursued. Thus, entry into the Partial

Repayment Agreement would lead to a substantially similar result as would a successful litigation.

       18.     Third, as a result of the Amendment, the DCG Parties will continue to be bound by

the covenants of the Original Partial Repayment Agreement, including those related to prohibitions

on the payment of dividends, limitations on the incurrence of indebtedness and liens, and the

obligation to turn over proceeds from extraordinary sales. These provisions will ensure that the

DCG Parties are focused on repaying GCC and will further de-risk the estates’ exposure to the

DCG Parties. Given the uncertainty facing the DCG Parties, including as a result of the New York

Attorney General’s complaint seeking an order requiring DCG to cease doing business in New

York, as well as the inherent volatility in the cryptocurrency industry, reducing risk and obtaining

payment in short order is extremely important to the Special Committee.

       19.     Fourth, on the basis of cash flow and balance sheet information obtained from the

DCG Parties, the Special Committee believes that the DCG Parties are not in a position to



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immediately repay in full the Undisputed Amounts. Any immediate judgment on the Turnover

Actions could have a value-destructive impact on one or both of the DCG Parties. This would, at

a minimum, put at risk or delay GGC’s receipt of additional payments on the DCG/DCGI Loans,

complicate these Chapter 11 Cases, and cause GGC to incur significant legal costs. Therefore, if

GGC continued to pursue the Turnover Actions, it could force the DCG Parties to obtain immediate

financing to repay the Undisputed Amounts. Any such refinancing would require the DCG Parties

to pay significant commitment fees, pay high interest rates and agree to onerous contractual

limitations that would benefit DCG’s new secured lenders to the disadvantage of the Debtors’

estates. In addition, it would entail the granting of liens and encumbrances that would be superior

to GGC’s unsecured claims, and bring a new party to the table (i.e., DCG’s new secured lender)

that could impose restrictive covenants and consent rights over any consensual resolution with the

Debtors’ estates. By contrast, the amounts agreed to be paid under the Partial Repayment

Agreement’s payment provisions are reasonable and consistent with what the Special Committee

believes that the DCG Parties can pay, while allowing DCG to continue to generate revenues that

can be put toward further payments to GGC.

       20.     Fifth, entry into the Amendment will foster continued settlement discussions

among the estates’ key stakeholders, by allowing the parties to focus on a potential consensual

resolution rather than immediate refinancing efforts or litigation which could impose significant

impediments to a consensual resolution.

       21.     In light of the foregoing, I believe the Amendment is fair and equitable, reasonable,

and in the best interests of the Debtors’ estates.




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Dated: November 28, 2023
       New York, New York
                                            /s/ Thomas Conheeney
                                            Thomas Conheeney
                                            Special Committee Member
                                            Genesis Global Holdco, LLC




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                                    EXHIBIT B
                       Original Partial Repayment Agreement
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                                                               EXECUTED VERSION


                          PARTIAL REPAYMENT AGREEMENT

        This PARTIAL REPAYMENT AGREEMENT, dated as of September 12, 2023 (this
“Agreement”), is entered into among Genesis Global Capital, LLC (“GGC”), a limited liability
company organized and existing under the laws of Delaware with its principal place of business at
250 Park Avenue South, 5th Floor, New York, New York 10003, Digital Currency Group, Inc.
(“DCG”), a Delaware corporation with its principal place of business at 290 Harbor Drive, 5th
Floor, Stamford, Connecticut 06902, and DCG International Investments Ltd. (“DCGI”, together
with DCG, the “DCG Parties” and together with GGC, the “Parties”), a company incorporated in
and existing under the laws of Bermuda, with its registered office at Century House, 16 Par-la-
Ville Road, Pembroke, HM 08, Hamilton, Bermuda. All capitalized terms used and not otherwise
defined herein shall have the same meanings as set forth in the DCG MLA (as defined below) or
the DCGI MLA (as defined below), as applicable.

                                         RECITALS:

      WHEREAS, reference is made to (i) that certain Amended and Restated Master Loan
Agreement, dated as of November 10, 2022 (the “DCG MLA”), by and between GGC, as Lender,
and DCG, as Borrower and (ii) that certain Master Loan Agreement, dated as of June 21, 2019 (the
“DCGI MLA” and, together with the DCG MLA, the “MLAs”), by and between GGC, as Lender,
and DCGI, as Borrower).

       WHEREAS, under the DCG MLA, the following Loans are currently outstanding:

       (i)     that certain loan dated January 24, 2022, as amended by the Loan Term Sheet dated
               as of November 10, 2022, with a principal amount equal to $100,000,000 (the
               “January 24 Loan”);

       (ii)    that certain loan dated February 23, 2022, as amended by the Loan Term Sheet
               dated as of November 10, 2022, with a principal amount equal to $100,000,000 (the
               “February 23 Loan”);

       (iii)   that certain loan dated May 9, 2022, with a principal amount equal to $200,000,000
               (the “May 9 Loan”); and

       (iv)    that certain loan dated May 10, 2022, with a principal amount equal to
               $100,000,000 (the “May 10 Loan” and together with the January 24 Loan, the
               February 23 Loan, and the May 9 Loan, the “DCG Loans”).

       WHEREAS, under the DCGI MLA, that certain loan dated June 22, 2022, as amended by
the Loan Term Sheet dated as of November 10, 2022, with a principal amount equal to
4,550.45173345 BTC (the “June 22 Loan”), is currently outstanding.

        WHEREAS, under the DCGI MLA, that certain term loan dated September 21, 2020, and
that certain term loan dated December 21, 2020 with a cumulative principal amount equal to
14,048 BCH (the “BCH Loan” and, together with the June 22 Loans, the “DCGI Loans”) are
currently outstanding.
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       WHEREAS, as of the date hereof, the following Events of Default (collectively, the
“Specified Admitted Events of Default”) under the MLAs, as applicable, have occurred and are
continuing:

       (i)     an Event of Default under clauses (a), (d), (e) and (f) of Section VIII of the DCG
               MLA (including, for the avoidance of doubt, Section VIII(f) of the DCGI MLA)
               relating to the failure of DCG to return any and all Loaned Assets outstanding under
               the January 24 Loan, the February 23 Loan, May 9 Loan and the May 10 Loan, in
               each case, when due between May 9, 2023 and May 11, 2023;

       (ii)    an Event of Default under clauses (a), (d), (e) and (f) of Section VIII of the DCGI
               MLA (including, for the avoidance of doubt, Section VIII(f) of the DCG MLA)
               relating to the failure of DCGI to return any and all of the remaining BTC under
               the June 22 Loan when due on May 11, 2023;

       (iii)   an Event of Default under Section VIII(b) of the DCGI MLA relating to the failure
               of DCGI to pay any and all Late Fees under the June 22 Loan within ten (10) days
               of the date when due;

       WHEREAS, as of the date hereof, GGC has alleged, and DCG and DCGI dispute, that the
following Events of Default (collectively, the “Specified Potential Events of Default” and, together
with the Specified Admitted Events of Default, the “Specified Events of Default”) under the DCG
MLA or the DCGI MLA, as applicable, may have occurred and may be continuing:

       (i)     an Event of Default under Section VIII(b) of the DCG MLA (including, for the
               avoidance of doubt, Section VIII(f) of the DCGI MLA) relating to the failure of
               DCG to pay any and all Loan Fees or Late Fees within ten (10) days of the date
               when due; and

       (ii)    an Event of Default under Section VIII(b) of the DCGI MLA (including, for the
               avoidance of doubt, Section VIII(f) of the DCG MLA) relating to the failure of
               DCGI to pay any and all Loan Fees within ten (10) days of the date when due.

        WHEREAS, on December 15, 2022, DCG sent a letter to GGC asserting that DCG had
effectuated a setoff, as of November 17, 2022, of the approximately $52.5 million DCG paid to
Luno Australia Pty Ltd (“Luno”) pursuant to the Limited Guaranty, dated November 11, 2022,
between DCG and Luno, under which DCG guaranteed up to $60 million of GGC’s obligations to
Luno (under that certain Master Digital Assets Loan Agreement dated August 30, 2022).

       WHEREAS, as described in the December 15, 2022 letter to GGC, DCG asserts that it
exercised its subrogation rights to Luno and set off the $52.5 million paid by DCG to Luno against
amounts DCG owes to GGC under the January 24 Loan (the “Luno Setoff”).

       WHEREAS, GGC disputes the validity of the Luno Setoff.




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      WHEREAS, on August 29, 2023, the Genesis Debtors, the Committee and DCG
announced an agreement-in-principle as set forth on that certain Notice of Mediation Termination,
ECF No. 625 (the “Agreement in Principle”) filed in the Genesis Chapter 11 Cases.

       WHEREAS, on May 9, 2023, DCG sent GGC a request for wire instructions by email at
10:37 p.m. (ET) (the “Wire Instructions Request”) to convert the Loans issued under the DCG
MLA to Open Loans.

       WHEREAS, on May 9, 2023, GGC responded to the Wire Instructions Request, which
response, under the terms of the DCG MLA, constituted a denial by GGC of DCG’s request to
convert such loans to Open Loans.

        WHEREAS, on May 12, 2023, GGC sent the DCG Parties a Notice of Default and
Reservation of Rights letter (“GGC Notice of Default Letter”), which noted, among other things,
that the Loans issued under the DCG MLA and DCGI MLA were due and owing, and that Late
Fees were accruing under the DCG MLA and DCGI MLA.

        WHEREAS, on May 25, 2023, the DCG Parties responded to the GGC Notice of Default
Letter noting, among other things, that the DCG Parties dispute GGC’s assertion that Late Fees
are accruing under the DCG MLA and that any Late Fees on Loan Fees are accruing under the
DCG MLA and DCGI MLA.

       WHEREAS, the disputes relating to the validity of the Luno Setoff and the accrual of Late
Fees under the DCG MLA and DCGI MLA remain open disputes and, notwithstanding anything
contained in this Agreement, the Parties reserve all of their rights and defenses with respect thereto.

       WHEREAS, DCG acknowledges and agrees that the Specified Admitted Events of Default
have occurred and are continuing and GGC has the right under Section XII of each of the DCG
MLA and the DCGI MLA to seek reimbursement for all reasonable costs and expenses, including
without limitation, reasonable attorneys’ fees and court costs, broker fees, and technology costs
incurred by GGC in connection with the enforcement of its rights thereunder.

        WHEREAS, the DCG Parties have requested, and GGC has agreed to, subject to the terms
and conditions set forth herein, the Forbearance (as defined below) during the Forbearance Period
(as defined below).

        NOW, THEREFORE, in consideration of the foregoing and the agreements, promises, and
covenants set forth below, and for other good and valuable consideration the receipt and
sufficiency of which are hereby acknowledged, the Parties agree as follows:

         1.     Defined Terms. For purposes of this Agreement, the following terms, in addition
to the terms defined in the preamble and recitals above, shall have the following meanings:

              (a)      “Asset Carve-Out Schedule” has the meaning set forth in Section 3 of this
        Agreement.

               (b)     “Bankruptcy Court” means the United States Bankruptcy Court for the
        Southern District of New York having jurisdiction over the chapter 11 cases of the Genesis

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     Debtors and, to the extent of any withdrawal of the reference made under section 157(d) of
     title 28 of the United States Code, the United States District Court for the Southern District
     of New York.

            (c)     “BTC” means bitcoin, a type of Digital Asset based on an open-source
     cryptographic protocol that was introduced in 2009 by an anonymous developer or group
     of developers using the name Satoshi Nakamoto.

             (d)      “BTC Portion” has the meaning set forth in Section 6(a) of this Agreement.

             (e)     “Capital Stock” means any and all shares, stock, interests, participations or
     other equivalents (however designated) of capital stock of a corporation, any and all
     equivalent ownership or profits interests in a Person that is another type of entity, including
     partnership interests, membership interests, voting trust certificates, certificates of interest,
     and profits interests, participations, or similar arrangements, and any and all warrants,
     rights or options to purchase, or other arrangements or rights to acquire, subscribe, convert
     to or otherwise receive or participate in the economic or other rights associated with any
     of the foregoing.

            (f)     “Committee” means the Official Committee of Unsecured Creditors
     appointed in the Genesis Chapter 11 Cases.

             (g)    “Digital Asset” means a digital currency or crypto asset in which
     transactions are verified and records are maintained by a decentralized system using
     cryptography, rather than by a centralized authority, including stablecoins, digital coins,
     and tokens, such as security tokens, utility tokens, and governance tokens.

              (h)      “Event of Bankruptcy” shall mean, with respect to any person or entity, such
     person or entity (i) is dissolved, (ii) makes a general assignment, arrangement, scheme or
     composition with or for the benefit of its creditors generally, or such a general assignment,
     arrangement scheme or composition becomes effective, (iii) institutes or has instituted
     against it a proceeding seeking a judgment of insolvency or bankruptcy or any other similar
     relief under any bankruptcy or insolvency law or other law affective creditors’ rights, or a
     petition is presented for its winding-up or liquidation, (iv) has a resolution passed for its
     winding-up or liquidation, (v) seeks or becomes subject to the appointment of an
     administration, provisional liquidator, conservator, receiver, trustee, custodian or other
     similar official for it or for all or substantially all its assets, (vi) has a secured party take
     possession of all or substantially all its assets or has a distress, execution, attachment,
     sequestration or other legal process levied, enforced, sued on or against all or substantially
     all its assets, or (vii) causes or is subject to any event with respect to it which, under the
     applicable laws of any jurisdiction, has an analogous effect to any of the events specified
     in (i) to (vii) above.

             (i)      “Forbearance” has the meaning set forth in Section 4 of this Agreement.

           (j)        “Forbearance Fee” has the meaning set forth in Section 6(b) of this
     Agreement.


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           (k)     “Forbearance Period” shall mean the period commencing on (and including)
     the Partial Repayment Agreement Effective Date and ending on the Forbearance
     Termination Date.

             (l)      “Forbearance Termination Date” means the earliest of (i) the Plan Effective
     Date, (ii) the date on which GGC or the DCG Parties, as applicable, delivers a Termination
     Notice in accordance with Section 7 hereof and (iii) the date on which an Automatic
     Forbearance Termination Event occurs.

            (m)      “Forbearance Termination Event of Default” has the meaning set forth in
     Section 7 of this Agreement.

            (n)     “Genesis Chapter 11 Cases” means, collectively, the cases commenced by
     the Genesis Debtors in the Bankruptcy Court jointly-administered under the case caption
     In re Genesis Global Holdco, LLC, et al., Case No. 23-10063.

           (o)    “Genesis Debtors” means, collectively, GGC, Genesis Global Holdco, LLC,
     and Genesis Asia Pacific Pte. Ltd.

           (p)     “Global Restructuring Agreement” means that certain Global Restructuring
     Agreement that may be executed by and among the Genesis Debtors, DCG and the
     Committee in accordance with the Agreement in Principle.

              (q)     “Indebtedness” means, with respect to any person or entity (i) all
     indebtedness for borrowed money; (ii) notes payable and drafts accepted representing
     extensions of credit whether or not representing obligations for borrowed money; (iii) all
     Indebtedness secured by any Lien on any property or asset owned or held by such person
     or entity regardless of whether the Indebtedness secured thereby will have been assumed
     by such person or entity or is nonrecourse to the credit of that person or entity; (iv) the face
     amount of any letter of credit issued for the account of such person or entity or as to which
     such person or entity is otherwise liable for reimbursement of drawings; (v) the direct or
     indirect guaranty, endorsement (otherwise than for collection or deposit in the ordinary
     course of business), co-making, discounting with recourse or sale with recourse by such
     person or entity of indebtedness of any other person or entity in respect of items in clauses
     (i)-(v) of this definition; (vi) any obligation of such person or entity the primary purpose
     or intent of which is to provide assurance to an obligee that the obligation of the obligor
     thereof will be paid or discharged, or any agreement relating thereto will be complied with,
     or the holders thereof will be protected (in whole or in part) against loss in respect thereof;
     (vii) obligations of such person or entity in respect of derivative transactions or instruments
     that are not principally for the purpose of hedging such person or entity’s exposure; and
     (viii) obligations of such person in respect of any exchange traded or over the counter
     derivative transaction entered into for speculative purposes; provided that, notwithstanding
     the foregoing, Indebtedness shall exclude (i) capital leases, (ii) any obligation owed for all
     or any part of the deferred purchase price of property, equipment or services, (ii) accounts
     payable, payroll and other liabilities and accrued expenses incurred in the ordinary course
     of business that are not overdue by more than one hundred eighty (180) from the date of
     incurrence of the obligations in respect thereof, (iii) accruals for payroll and other liabilities


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     in the ordinary course of business, or (iv) other credit card, bank product or trade
     obligations incurred in the ordinary course of operating the DCG Parties’ businesses.

           (r)       “Loan Documents” has the meaning set forth in Section 10(c) of this
     Agreement.

             (s)    “Material Adverse Change” means any circumstance, condition, or event
     that would reasonably be expected to materially and adversely affect (i) the business, assets,
     financial condition or results of operations, in each case, of DCG and its subsidiaries taken
     as a whole, or (ii) the ability of any DCG Party to perform its obligations under, or
     otherwise comply with any of the provisions of, this Agreement or the Loan Documents.

            (t)    “Minimum Repayment Amount” has the meaning set forth in Section 6 of
     this Agreement.

             (u)     “Net Proceeds” means the proceeds in excess of $10 million after payment
     of transaction expenses from any disposition of assets on the Asset Carve-Out Schedule.

             (v)    “New Second Lien Facility” means the second-lien facility contemplated
     by the Agreement in Principle, as may be amended in the Global Restructuring Agreement,
     proposed to be entered into on the Plan Effective Date by DCG, as borrower, and GGC, as
     lender.

            (w)      “Notice of Stay” has the meaning set forth in Section 6(a) of this Agreement.

             (x)     “Partial Repayment Agreement Effective Date” has the meaning set forth
     in Section 5 of this Agreement.

           (y)    “Payment Date” means the date on which each of the First Payment, Second
     Payment or Third Payment is due under this Agreement.

            (z)   “Plan Effective Date” means the effective date of the chapter 11 plan for the
     Genesis Debtors in the Genesis Chapter 11 Cases.

             (aa) “Restricted Junior Payment” means (i) any dividend, other distribution, or
     liquidation preference, direct or indirect, on account of any shares of any class of Capital
     Stock of DCG now or hereafter outstanding; (ii) any redemption, retirement, sinking fund,
     or similar payment, purchase, or other acquisition for value, direct or indirect, of any shares
     of any class of Capital Stock of DCG (or any direct or indirect parent thereof) now or
     hereafter outstanding; (iii) any payment made to retire, or to obtain the surrender of, any
     outstanding warrants, options, or other rights to acquire shares of any class of Capital Stock
     of DCG (or any direct or indirect parent thereof) now or hereafter outstanding; (iv)
     management or similar fees payable to any of the holders of Capital Stock issued by DCG;
     and (v) any payment or prepayment of principal of, premium, if any, or interest on, or
     redemption, purchase, retirement, defeasance (including in-substance or legal defeasance),
     sinking fund, or similar payment with respect to, any indebtedness that is contractually
     subordinated in payment ranking to the obligations under the Loan Documents; provided,
     however, that nothing contained herein shall (a) affect the DCG Parties’ ability to

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     effectuate any transactions set forth in (i) – (v) above if each such transaction is below $3
     million or $8 million cumulatively, or (b) restrict DCG’s issuance of shares of any class of
     Capital Stock to current and/or former employees pursuant to an ordinary course
     contractual or legal obligation or the honoring of any such employees’ exercise of rights to
     shares of any class of Capital Stock of DCG or any of its subsidiaries, in each case, as DCG
     or its subsidiaries may be contractually obligated under ordinary course employee options
     agreements; provided further that such transaction or issuance is otherwise compliant with
     Section 3 herein.

           (bb)     “Termination Notice” has the meaning set forth in Section 7 of this
     Agreement.

            (cc)    “Turnover Actions” collectively mean those certain complaints filed in the
     Genesis Chapter 11 Cases on September 6, 2023, captioned as Genesis Global Capital,
     LLC v. Digital Currency Group, Inc., Adv. Pro. 23-01168 and Genesis Global Capital,
     LLC v. DCG International Investments Ltd., Adv. Pro. 23-01169, with respect to certain
     amounts outstanding under the DCG MLA and the DCGI MLA, respectively.

            (dd)    “USD Portion” has the meaning set forth in Section 6(a) of this Agreement.

    2.      Agreements and Acknowledgements.

            (a)    Each DCG Party acknowledges, represents and warrants that the recitals to
     this Agreement are true and correct in all material respects.

             (b)    Each DCG Party acknowledges and agrees that, as of the Partial Repayment
     Agreement Effective Date (as defined below), without giving effect to any reductions as
     shall be set forth in the Global Restructuring Agreement, (i) the aggregate outstanding
     principal amount of Loans under the DCG MLA is $500,000,000.00, (ii) the aggregate
     outstanding principal amount of Loans under the DCGI MLA is 4,550.45173345 BTC and
     14,048 BCH, and (iii) the total outstanding amount of Late Fees under the DCGI MLA as
     of August 31, 2023 is 70.43849944 BTC. Each of DCG and DCGI acknowledges,
     represents and warrants to GGC that such obligations are validly owed or owing under the
     respective MLAs, and each of DCG and DCGI is obligated with respect to the DCG MLA
     or the DCGI MLA, as applicable.

             (c)     DCG acknowledges that GGC has not waived, released, or compromised
     any occurrences, acts, or omissions that may constitute or give rise to any defaults or Events
     of Default (including the Specified Events of Default) that existed or may have existed,
     may presently exist, or may arise in the future, nor does GGC waive any rights or remedies
     under the Loan Documents (other than, to the extent expressly set forth herein, with respect
     to the Specified Events of Default during the Forbearance Period) or any other agreements
     or arrangements with DCG or DCG not governed by the MLAs or terms sheets in respect
     thereof. The Specified Admitted Events of Default shall be deemed to have occurred and
     be continuing for all purposes under the MLAs and the other Loan Documents,
     notwithstanding any subsequent cure or any other event or condition after the date hereof
     that would cause any Specified Admitted Event of Default to be no longer continuing, and


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         such Specified Admitted Event of Default may only be cured or waived on terms and
         conditions satisfactory to GGC.

         3.      Negative Covenants. Without the prior written consent of GGC, each DCG Party
agrees that it shall not, during the Forbearance Period (unless the Forbearance Period is terminated
pursuant to Section 7(a)(ii) of this Agreement, in which case this Section 3 shall survive the
termination of the Forbearance Period or this Agreement), (a) directly or indirectly dispose of any
assets having a fair market value in excess of $10 million in any single transaction or series of
transactions or in excess of $30 million in aggregate, provided, however, a DCG Party may transfer
assets identified on a schedule as agreed upon by the Parties prior to entry of this Agreement (the
“Asset Carve-Out Schedule”) if it uses the Net Proceeds to repay amounts due to GGC under the
Loan Documents, (b) create, incur, assume, or otherwise become or remain liable with respect to
any Indebtedness in an amount exceeding $30 million, (c) declare, order, pay, make, or set apart,
or agree to declare, order, pay, make, or set apart, any sum for any Restricted Junior Payment,
except with respect to DCG’s issuance of any class of Capital Stock to current and/or former
employees pursuant to an ordinary course legal or contractual obligation or the honoring of any
such employees’ exercise of rights to shares of any class of Capital Stock of DCG or any of its
subsidiaries, in each case, as DCG or its subsidiaries may be contractually obligated under ordinary
course employee options agreements, (d) enter into any transaction of merger or consolidation, or
liquidate, wind up or dissolve itself (or suffer or consent to any such transaction, liquidation,
winding up or dissolution), or dispose of, in any single transaction or series of related transactions,
all or substantially all of its assets, or (e) enter into or permit to exist any transaction that is not on
an arms’ length basis (including the purchase, sale, lease or exchange of any property or the
rendering of any service) with (i) any holder of ten percent (10%) or more of any class of Capital
Stock of DCG or any of its subsidiaries or any affiliate of such holder, (ii) any affiliate of DCG
(excluding the Genesis Debtors), or (iii) any joint venture in which any DCG Party or any of its
respective affiliates holds any Capital Stock; provided that the DCG parties shall provide written
notice to GGC of any affiliated transactions (other than those described in the following sentence)
that are on an arms’ length basis no later than two (2) business days after entering into such affiliated
transaction; provided further that, if GGC does not file or cause to be filed the Notice of Stay on or
prior to the date that is three (3) Business Days after the Partial Repayment Agreement Effective
Date, the foregoing restrictions in this Section 3 (as applied to the DCG Parties) shall cease to be
effective until such time as the Notice of Stay is filed. Notwithstanding anything to the contrary
herein, this Agreement shall not restrict or prohibit any of the DCG Parties from (A) funding any
subsidiaries of the DCG Parties for payroll, overhead or operating costs and expenses of subsidiaries
of GGC in the ordinary course, (B) entering into any token rebalancing transactions or selling any
token positions, (C) receiving any payments, dividends, distributions or outflows from any of
DCG’s subsidiaries or companies within the DCG Parties’ venture portfolio (D) selling any
minority stakes in companies within the DCG Parties’ venture portfolio for an aggregate value of
no more than $8 million (provided that the foregoing $8 million cap shall not apply to the extent
that proceeds from such sales are used to satisfy the DCG Parties’ obligations under the Loan
Documents), or (E) incurring any debt if the proceeds of such debt will be used to satisfy the DCG
Parties’ obligations under the Loan Documents; provided that DCG and DCGI shall provide written
notice to GGC of any sale or incurrence of debt described in the foregoing clauses (D) and (E) no
later than two (2) days following such sale or incurrence.



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    4.      Limited Forbearance.

              (a)      Except as otherwise provided in this Agreement, and subject to the terms
     and conditions set forth in this Agreement, GGC agrees that during the Forbearance Period
     it will not (i) further pursue or prosecute the Turnover Actions, or (ii) file any action in any
     jurisdiction and/or initiate any legal proceeding to enforce any of its rights and remedies in
     respect of the Specified Events of Default (the “Forbearance”); provided that,
     notwithstanding the Forbearance or anything to the contrary in this Agreement, both GGC
     and the DCG Parties reserve their rights with respect to whether there are Late Fees
     accruing on the Loans issued under the DCG MLA; provided, further, that notwithstanding
     the Forbearance or anything to the contrary in this Agreement, GGC reserves the right to
     assert that it is entitled to (x) payment of any and all Loan Fees and Late Fees that may
     become due under the applicable provisions of MLAs (it being understood that DCG
     disputes that Late Fees are due under the DCG MLA) and (y) reimbursement of all
     reasonable costs and expenses, including without limitation, reasonable attorneys’ fees and
     court costs, broker fees, and technology costs incurred by GGC in connection with the
     enforcement of its rights under the MLAs, as applicable, in each case including during the
     Forbearance Period.

             (b)     The Forbearance shall be limited precisely as written, relate solely to the
     Specified Events of Default in the manner and to the extent described in this Agreement,
     and shall not (i) be deemed a waiver of any default or Event of Default that is not a
     Specified Event of Default that may now be in existence or that may hereafter occur, nor
     imply that GGC would be obligated to or would waive any default or Event of Default
     (including the Specified Events of Default) following the expiration or termination of the
     Forbearance Period, or (ii) prejudice any right or remedy that GGC may now have or may
     have in the future under or in connection with the Loan Documents or any other instrument
     or agreement referred to therein, including, without limitation, any right or remedy in
     connection with the Specified Events of Default following the expiration or termination of
     the Forbearance Period.

            (c)      Notwithstanding the Forbearance granted pursuant to this Section 4, for the
     purposes of any provision of the MLAs permitting any action by DCG or DCGI, as
     applicable, in the absence of a default or Event of Default (or any kind of default or Event
     of Default), or conditioning any right of DCG, DCGI, or GGC on the absence of a default
     or Event of Default (or any kind of default or Event of Default), the Specified Events of
     Default shall be deemed to be continuing upon its occurrence.

              (d)     Starting on the first Business Day after the expiration or termination of the
     Forbearance Period, GGC may at any time thereafter proceed to enforce any or all of its
     rights and remedies under any Loan Document and applicable law (subject to the terms of
     the applicable Loan Document and applicable law) in connection with the Specified Events
     of Default; provided that GGC shall be permitted to exercise any enforcement rights with
     respect to this Agreement at any time during the Forbearance Period and shall be permitted
     to file a notice of the termination or expiration of the Forbearance Period immediately upon
     such termination or expiration; provided further that DCG and DCGI shall have the later
     of (i) thirty (30) days after such termination or expiration of the Forbearance Period and

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          (ii) any date as ordered by the Bankruptcy Court, to file an answer in the Turnover Actions,
          unless the Forbearance Period is terminated pursuant to Section 7(a)(ii), in which case
          DCG and DCGI shall have ten (10) Business Days after such termination to file an answer
          in the Turnover Actions. In furtherance of the foregoing, and notwithstanding the
          Forbearance, each DCG Party acknowledges and confirms that, following the expiration
          or termination of the Forbearance Period, all rights and remedies of GGC under the Loan
          Documents and applicable law in connection with the Specified Events of Default and with
          respect to the DCG Parties shall continue to be available to GGC. For the avoidance of
          doubt, each DCG Party acknowledges and confirms that the Forbearance shall not apply to
          or preclude any remedy available to GGC in connection with any proceeding commenced
          by or on behalf of a DCG Party under any bankruptcy or insolvency law, including, without
          limitation, to any relief in respect of adequate protection or relief from any stay imposed
          under such law.

                  (e)     The Parties agree that the running of all statutes of limitation and the
          doctrine of laches applicable to all claims or causes of action that GGC may be entitled to
          take or bring in order to enforce its rights and remedies against any DCG Party under the
          MLAs are, to the fullest extent permitted by law, tolled and suspended during the
          Forbearance Period.

                 (f)     Each DCG Party understands and agrees to the temporary nature of the
          Forbearance provided hereby and that GGC has given no assurances that it will, and shall
          have no obligation to, extend the duration of the Forbearance Period or enter into any other
          waiver, forbearance, amendment or agreement. Any agreement by the DCG Parties and
          GGC to extend the Forbearance Period, if any, shall be set forth in writing and signed by a
          duly authorized signatory of each of the DCG Parties and GGC.

                  (g)     The Forbearance granted pursuant to this Section 4 is granted on the
          condition that no default or Event of Default, other than the Specified Events of Default,
          shall exist under the Loan Documents.

        5.       Effectiveness of Agreement. This Agreement shall become effective on the first
date (such date, the “Partial Repayment Agreement Effective Date”) on which this Agreement has
been duly executed and delivered by each of the Parties.

          6.     Payments of Loans and Fees. In consideration for the Forbearance as set forth
herein:

                  (a)      The DCG Parties shall pay GGC, in payment of the DCG Loans and the
          June 2022 Loan, a total of $275,000,000 (the “Minimum Repayment Amount”) in
          accordance with the following payment schedule: (i) $75,000,000 on the earlier of (A) a
          date within one (1) Business Days after the filing of a notice of stay with respect to the
          Turnover Actions in the Genesis Chapter 11 Cases (the “Notice of Stay”), which shall occur
          no later than three (3) Business Days after the Partial Repayment Agreement Effective Date,
          and (B) the Plan Effective Date (the “First Payment”); (ii) $75,000,000 on the earlier of (A)
          the date that is 47 days after the Partial Repayment Agreement Effective Date and (B) the
          Plan Effective Date (the “Second Payment”); (iii) $75,000,000 on the earlier of (A) the


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     date that is 45 days after the Second Payment and (B) the Plan Effective Date (the “Third
     Payment”); and (iv) $50,000,000 on the earlier of (A) the date that is 45 days after the Third
     Payment and (B) the Plan Effective Date; provided that the payments set forth in clauses
     (i)-(iv) shall cumulatively be made 78% in USD (the “USD Portion”) and 22% in BTC (the
     “BTC Portion”) and (2) the obligation of the DCG Parties to make the payments set forth
     in clauses (i)-(iv) shall be contingent on the timely filing of the Notice of Stay as described
     in clause (i)(A) above. Any such USD payments made under this Section 6(a) will first
     reduce the principal balance of the January 24 Loan until such balance is fully repaid, and
     next will reduce the principal balance of the May 9 Loan until such balance is fully repaid;
     any such BTC payments made under this Section 6(a) will reduce the principal balance of
     the June 22 Loan. DCG shall solely be responsible for the USD Portion and DCGI shall
     solely be responsible for BTC Portion. Nothing herein shall impute joint or several liability
     to DCG with respect to the BTC Portion, or to DCGI with respect to the USD Portion of
     the payments, respectively.

             (b)    The DCG Parties shall pay a total fee in USD (the “Forbearance Fee”) in an
     amount equal to 0.375% of the aggregate principal amount outstanding of the Loans under
     the MLAs on the Partial Repayment Agreement Effective Date, each in their respective
     capacities as Borrowers under the MLAs, as applicable, within two (2) Business Days of
     the Partial Repayment Agreement Effective Date, and GGC agrees that the Forbearance
     Fee shall be credited against the USD Portion of the final $50,000,000 payment. Each of
     DCG and DCGI shall be jointly and severable liable for the Forbearance Fee.

             (c)    Notwithstanding anything to the contrary in the DCGI MLA, DCGI agrees
     to pay all Late Fees that are or become payable under the DCGI MLA and relevant term
     sheets in accordance with the terms of such agreements during the Forbearance Period;
     provided however, all rights and defenses of the Parties are fully preserved with respect to
     any Late Fees owing under the DCG MLA and relevant term sheets.

             (d)     To the extent the DCG Parties make payments pursuant to this Agreement
     that are in the aggregate greater than the Minimum Repayment Amount (without
     consideration to any amounts paid under this Agreement in respect of Loan Fees or Late
     Fees under either the MLAs), DCG shall be entitled to a greater than dollar-for-dollar
     reduction in the original principal amount of the New Second Lien Facility (as described
     in the Agreement in Principle, as may be amended in the Global Restructuring Agreement),
     with an additional $65,000,000 in total aggregate amount of payments exceeding the
     Minimum Repayment Amount reducing the original principal amount of the New Second
     Lien Facility by $95,000,000 and each additional $10,000,000 in total aggregate amount
     of payments thereafter reducing the original principal amount of the New Second Lien
     Facility by a further $15,000,000; provided, however, that if the Parties do not execute the
     Global Restructuring Agreement, then any payments made under this Section 6(c) shall
     reduce the principal balance of the amounts owed under the DCG Loans or June 22 Loan,
     as applicable, by the amount actually paid, without any greater than dollar-for-dollar
     reduction.




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    7.      Default.

            (a)    Except in respect of the Specified Events of Default, upon the occurrence
     of any one or more of the following events (each a “Forbearance Termination Event of
     Default”), GGC shall provide notice to the DCG Parties in accordance with Section XV of
     the DCG MLA or Section XV of the DCGI MLA, as applicable, of its intent to terminate
     the Forbearance Period, which termination shall become effective upon the delivery of the
     Termination Notice to the DCG Parties:

                     (i)     any DCG Party fails to observe, perform or comply with, or is in
            breach of, any covenant, term, or condition contained in this Agreement and (other
            than in the case of Section 6 (Payments of Loans and Fees)) such failure or breach
            is not cured (if curable) within fifteen (15) calendar days of (x) delivery of a written
            notice by GGC or (y) any DCG Party having actual knowledge of such breach or
            failure;

                    (ii)    any DCG Party fails to observe, perform or comply with, or is in
            breach of, any covenant, term, or condition in Section 6 (Payments of Loans and
            Fees)) if such failure or breach is not cured within one (1) Business Day;

                    (iii)    the occurrence of a Material Adverse Change;

                    (iv)    any DCG Party fails to observe, perform or comply with, or is in
            breach of, any covenant, term, or condition contained in any of the Loan Documents
            (including the failure to pay Loan Fees as required under the MLAs), other than a
            Specified Event of Default, and does not cure such failure within any applicable
            cure period provided in the applicable Loan Document;

                  (v)    the occurrence of an Event of Default under the DCG MLA or DCGI
            MLA, other than a Specified Event of Default;

                   (vi)    any Party fails to observe or perform, or is in breach of, any covenant,
            term, or condition contained in the Global Restructuring Agreement, and does not
            cure such failure within any applicable cure period provided in the Global
            Restructuring Agreement;

                   (vii) the termination of the Global Restructuring Agreement in
            accordance with its terms; or

                    (viii) GGC determines, in its sole discretion following consultation with
            its legal and financial advisors, that termination of this Agreement is appropriate,
            necessary or consistent with the exercise of its fiduciary duties; provided that,
            notwithstanding anything to the contrary in this Section 7(a), GGC shall provide
            the DCG Parties with at least ten (10) calendar days’ prior written notice before
            such termination shall become effective; provided further that in the event a DCG
            Party makes a payment or uses proceeds from the sale of assets as described in
            Section 3(a) and Section 3(c) to pay obligations owed under the Loan Documents
            in advance of the next Payment Date, such payments shall be credited toward the

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              amounts due on future Payment Dates and GGC shall not exercise the termination
              right described in this Section 7(a)(viii) prior to the next Payment Date.

               (b)     Upon the issuance by any governmental authority, including any regulatory
       authority or the Bankruptcy Court or a court of competent jurisdiction, of any ruling,
       judgment, or order enjoining GGC’s or any of the DCG Parties’ entry into and performance
       under this Agreement, the Parties may elect to provide notice to the other Parties in
       accordance with Section XV of the DCG MLA or Section XV of the DCGI MLA, as
       applicable, of its intention to terminate this Agreement, which termination shall become
       effective upon the delivery of a Termination Notice.

               (c)     On or after the date that is forty-seven (47) days after the Partial Repayment
       Agreement Effective Date, any Party may give written notice to the other Parties of its
       intention to terminate this Agreement on the date, which termination shall be effective upon
       the delivery of such notice to the other Parties, in the event that at such time either (i) the
       Global Restructuring Agreement has not been executed; or (ii) the Genesis Debtors have
       not filed an amended chapter 11 plan and disclosure statement, consistent with the
       Agreement in Principle and as otherwise reasonably acceptable to DCG (as may be
       amended by the Global Restructuring Agreement or as otherwise agreed by the Parties).

              (d)    Notwithstanding the foregoing or anything to the contrary in the MLAs, the
       Forbearance Period shall automatically be terminated without any action necessary by any
       Party upon the occurrence of an Event of Bankruptcy with respect to DCG or DCGI (an
       “Automatic Forbearance Termination Event”).

                (e)    Any notice provided by any Party indicating an intention to terminate either
       the Forbearance Period or this Agreement pursuant to (and in accordance with the terms
       of) this Section 7 shall be referred to as a “Termination Notice”.

      8.      Representations and Warranties of DCG. To induce GGC to enter into this
Agreement, each DCG Party represents and warrants to GGC that, as of the Partial Repayment
Agreement Effective Date:

               (a)    the execution, delivery, and performance of this Agreement (i) are within
       such DCG Party’s corporate or other organizational powers (as applicable), (ii) have been
       duly authorized by all necessary corporate or other organizational action (as applicable) on
       the part of such DCG Party, and (iii) do not and will not breach, violate, conflict with, or
       constitute a default under (A) any provision of any law or any governmental rule or
       regulation applicable to such DCG Party, (B) any of the organizational documents of such
       DCG Party, (C) any order, judgment, or decree of any court or other agency of government
       binding on such DCG Party, or (D) any agreement to which such DCG Party is a party;

              (b)    each of DCG and DCGI has duly executed and delivered this Agreement,
       and each of this Agreement, the DCG MLA or the DCGI MLA, as applicable, and the
       applicable Loan Term Sheets constitutes the legal, valid, and binding obligation of such
       DCG Party enforceable in accordance with its terms; and



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               (c)     (i) other than the Specified Events of Default, no actual or potential default
       or Event of Default has occurred and is continuing and (ii) except with respect to the
       Specified Events of Default, all representations and warranties made by either DCG Party
       contained herein, in the MLAs, as applicable, or in the other Loan Documents are true and
       correct in all material respects (or, with respect to any representation or warranty qualified
       by materiality or a material adverse change or material adverse effect standard, in all
       respects) with the same effect as though such representations and warranties are made on
       and as of the Partial Repayment Agreement Effective Date, except where such
       representations and warranties expressly relate to an earlier date, in which case such
       representations and warranties shall have been true and correct in all material respects as
       of such earlier date (or, with respect to any representation or warranty qualified by
       materiality or a material adverse change or material adverse effect standard, in all respects).

      9.      Representations and Warranties of GGC. To induce DCG to enter into this
Agreement, GGC represents and warrants to the DCG Parties that, as of the Partial Repayment
Agreement Effective Date:

               (a)     GGC has full legal and corporate authority to enter into and perform under
       this Agreement without any order of the Bankruptcy Court or any court of competent
       jurisdiction; and

               (b)    Other than the Specified Events of Default, GGC is not aware of any actual
       or potential default or Event of Default that has occurred and is continuing in the MLAs,
       as applicable.

      10.     Reference to and Effect on Loan Documents.

                (a)    Ratification. Each of DCG and DCGI hereby expressly acknowledges and
       agrees that all of the terms and conditions of, and their continued obligations and liability
       (including all of its payment and performance obligations, covenant obligations and
       obligation to indemnify, contingent or otherwise) under, the MLAs, and the other Loan
       Documents, as applicable, are hereby ratified and confirmed and continue unchanged and
       in full force and effect, except as otherwise set forth herein.

               (b)     No Waiver. Except as expressly set forth herein, neither the execution,
       delivery and effectiveness of this Agreement shall, directly or indirectly, (i) create any
       obligation to continue to defer any enforcement action with respect to the Specified Events
       of Default after the occurrence of any Forbearance Termination Event of Default (or with
       respect to an Event of Default not constituting a Specified Event of Default after the date
       hereof) or termination of this Agreement; (ii) constitute a consent or waiver of any past,
       present or future violations, including the Specified Events of Default or any other defaults
       and Events of Default, of any provisions of the MLAs, or any other Loan Documents; (iii)
       amend, modify, prejudice or operate as a waiver of any right, power, defense or remedy of
       GGC or any of its successors under the MLAs, or any of the other Loan Documents; (iv)
       constitute a consent to any merger or other transaction or to any sale, restructuring or
       refinancing transaction, or (v) constitute a course of dealing or other basis for altering any
       Loans or any other contract or instrument. No course of dealing or any passage of time on


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     account of the Forbearance Period shall be considered or used as a basis for asserting an
     untimely exercise of any such Party’s rights, for altering any obligation of any of DCG,
     DCGI or any other Person or any right, privilege defense or remedy of GGC under the
     MLAs, or any other Loan Document, or to otherwise prejudice any such right, power,
     defense or remedy. The DCG Parties expressly acknowledge and agree that there has not
     been, and this Agreement does not constitute or establish, a novation with respect to the
     MLAs, or any of the other Loan Documents. Except as otherwise expressly provided in
     this Agreement, GGC hereby reserves all of its rights and remedies under the Loan
     Documents and any other documents, instruments or agreements executed and delivered
     in connection therewith and any and all applicable law.

             (c)    Loan Document. On and after the Partial Repayment Agreement Effective
     Date, this Agreement shall constitute a “Loan Document” as defined under the DCG MLA
     and shall constitute a “Loan Document” as defined under the DCGI MLA and the term
     “Loan Documents” shall collectively refer to this Agreement, the DCG MLA, the DCGI
     MLA, and any and all term sheets entered in connection with such MLAs.

    11.     Miscellaneous.

             (a)     Successors and Assigns. This Agreement shall be binding on and shall inure
     to the benefit of each of the Parties and their respective successors and assigns to the same
     extent set forth in the Loan Documents.

            (b)     Entire Agreement. This Agreement and the Loan Documents, as amended
     hereby, constitute the entire agreement of the Parties with respect to the subject matter
     hereof and supersede all other understandings, oral or written, with respect to the subject
     matter hereof.

            (c)     Headings. Section headings in this Agreement are included herein for
     convenience of reference only and shall not constitute a part of this Agreement for any
     other purpose.

             (d)     Severability. Wherever possible, each provision of this Agreement shall be
     interpreted in such a manner as to be effective and valid under applicable law, but if any
     provision of this Agreement shall be prohibited by or invalid under applicable law, such
     provision shall be ineffective to the extent of such prohibition or invalidity, without
     invalidating the remainder of such provision or the remaining provisions of this Agreement.

             (e)      Counterparts. This Agreement may be executed in any number of separate
     original counterparts and by way of electronic signature, each of which shall be deemed to
     be an original, but all of such counterparts shall together constitute one agreement.
     Delivery of an executed counterpart of a signature page to this Agreement by electronic
     mail in portable document format (.pdf) shall be effective as delivery of a manually
     executed counterpart of this Agreement. For the avoidance of doubt, the words “execution,”
     “signed,” “signature,” and words of like import in this Agreement shall be deemed to
     include electronic signatures or the keeping of records in electronic form, each of which
     shall be of the same legal effect, validity or enforceability as a manually executed signature


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     or the use of a paper-based recordkeeping system, as the case may be, to the extent and as
     provided for in any applicable law, including the Federal Electronic Signatures in Global
     and National Commerce Act, the New York State Electronic Signatures and Records Act,
     or any other similar state laws based on the Uniform Electronic Transactions Act.

             (f)    Expenses. Without limiting any terms or provisions of the Loan Documents,
     the DCG Parties agree, jointly and severally, to pay promptly all reasonable and
     documented costs and expenses incurred by GGC in connection with the enforcement or
     protection of GGC’s rights under this Agreement, including, without limitation, the
     reasonable fees, charges, and disbursements of GGC’s legal counsel.

              (g)     Governing Law; Jurisdiction; Waiver of Jury Trial. This Agreement and
     the rights and obligations of the Parties hereunder shall be governed by, and construed and
     interpreted in accordance with, the law of the State of New York, without giving effect to
     the principles of conflict of laws that would require the application of the law of any other
     jurisdiction. By its execution and delivery of this Agreement, each of the Parties hereby
     irrevocably and unconditionally agrees for itself that any legal action, suit, or proceeding
     against it with respect to any matter under or arising out of or in connection with this
     Agreement or for recognition or enforcement of any judgment rendered in any such action,
     suit, or proceeding, may be brought exclusively in the Bankruptcy Court. By execution
     and delivery of this Agreement, each of the Parties hereby irrevocably accepts and submits
     itself to the exclusive jurisdiction of the Bankruptcy Court, generally and unconditionally,
     with respect to any such action, suit or proceeding. EACH PARTY HERETO
     UNCONDITIONALLY WAIVES ANY RIGHT TO TRIAL BY JURY IN ANY LEGAL
     ACTION OR PROCEEDING ARISING OUT OF OR RELATING TO THIS
     AGREEMENT.

             (h)     Appointment of Process Agent. DCG hereby agrees that service of process
     in any such action or proceeding brought in connection with the DCG MLA, DCGI MLA,
     the Loan Agreements, the Turnover Actions or this Agreement, may be made upon it by
     serving a copy of any relevant pleadings on an agent designated by the DCG Parties (the
     “Designated Agent”), which shall be irrevocably appointed by the DCG Parties as its agent
     for service of process in respect of any such action or proceeding. Within two (2) business
     days of the Partial Repayment Agreement Effective Date, the DCG Parties shall provide
     GGC with the identity and address of Designated Agent. The service, as herein provided,
     of such summons or other legal process in any such action or proceeding on the Designated
     Agent shall be deemed personal service and accepted by each of the DCG Parties as such,
     and shall be legal and binding on each of the DCG Parties for all the purposes of any such
     action or proceeding.




      [REMAINDER OF PAGE INTENTIONALLY LEFT BLANK; SIGNATURE PAGES FOLLOW]




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                    IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of the date
            first above written.

                                                             DIGITAL CURRENCY GROUP, INC.



                                                             By:
                                                                   Name: Mark Murphy
                                                                   Title: President


                                                             DCG INTERNATIONAL INVESTMENTS
                                                             LTD.



                                                             By:
                                                                   Name: Mike Katz
                                                                   Title: Legal Officer




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  Accepted and agreed as of the date first set forth above
                                                          .
  HOLDER:

 GENESIS GLOBAL CAPITAL, LLC



 By:                      ٠XS \ l
 Name:
 Title:    X١OcW١A              c




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                                EXHIBIT C
                           Amendment to the Partial
                            Repayment Agreement
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                                                                                 Executed Version


               AMENDMENT TO PARTIAL REPAYMENT AGREEMENT

This Amendment (the “Amendment”) is entered into as of November 28, 2023 in reference to that
certain Partial Repayment Agreement (the “Original Partial Repayment Agreement” and the
Original Partial Repayment Agreement as amended by the Amendment, the “Partial Repayment
Agreement”), dated as of September 12, 2023, between Genesis Global Capital, LLC (“GGC”)
Digital Currency Group, Inc. (“DCG”), and DCG International Investments Ltd. (“DCGI,”
together with DCG, the “DCG Parties,” and collectively with GGC, the “Parties”). All capitalized
terms used and not otherwise defined herein shall have the same meanings as set forth in the Partial
Repayment Agreement.

WHEREAS, on September 13, 2023, GGC received, pursuant to the terms of the Original Partial
Repayment Agreement, the following payments or transfers from the applicable DCG Party: (i) a
Forbearance Fee in the amount of $2,315,937.92, (ii) a payment of $58,500,000 on account of
outstanding principal in respect of the DCG Loans, (iii) a transfer of 638.54616543 BTC on
account of outstanding principal in respect of the June 22 Loan and (iv) a transfer of 70.43849944
BTC on account of Late Fees accrued under the June 22 Loan as of August 31, 2023.

WHEREAS, on October 3, 2023, GGC received, prior to the applicable Payment Date under the
Original Partial Repayment Agreement, the following payments or transfers from the applicable
DCG Party: (i) two payments totaling $58,500,000 on account of outstanding principal in respect
of the DCG Loans and (ii) a transfer of 599.91212208 BTC on account of outstanding principal in
respect of the June 22 Loan.

WHEREAS, on October 20, 2023, GGC received, prior to the applicable Payment Date under the
Original Partial Repayment Agreement, the following payments or transfers from the applicable
DCG Party: (i) one payment in the amount of $58,500,000 on account of outstanding principal in
respect of the DCG Loans and (ii) a transfer of 574.2224245 BTC on account of outstanding
principal in respect of the June 22 Loan.

WHEREAS, as a result of the aforementioned payments by DCG under the Original Partial
Repayment Agreement, DCG has paid, among other DCG Loans, the full principal balance of the
January 24 Loan.

WHEREAS, the Global Restructuring Agreement was not executed by October 29, 2023 and the
Genesis Debtors had not filed an amended chapter 11 plan and disclosure statement consistent
with the Agreement in Principle by that date, and it is the Debtors’ position that each of the Parties
was, as of October 29, 2023, entitled to terminate the Original Partial Repayment Agreement
pursuant to Section 7(c) thereof.

WHEREAS, the Parties seek to amend the Original Partial Repayment Agreement to provide for:

        (i)     payment of the DCG Loans and the DCGI Loans in accordance with the payment
                schedule described herein;

        (ii)    the pledge by DCG and DCGI of certain ETHE and ETCG (each as defined below)
                to GGC, pursuant to the Security Agreements, to secure the obligations of the DCG
                Parties with respect to the Outstanding Undisputed Amounts ; and
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        (iii)   entry of the joint stipulated orders and judgments (respectively, the “DCG Joint
                Stipulated Order and Judgment” and the “DCGI Joint Stipulated Order and
                Judgment” and together the “Joint Stipulated Orders and Judgments”), attached
                hereto as Annex A and Annex B, of which GGC will forbear from seeking
                execution except in the event of (a) failure by the applicable DCG Party to pay any
                portion of the Repayment Amount (as defined herein) on or prior to the dates set
                forth herein (any such failure by either of DCG or DCGI, a “Nonpayment Event”),
                (b) failure by DCG to make the transfer described in clause (ii) above in accordance
                with the terms of this Amendment, or (c) failure by the DCG Parties to comply
                with the Section 3 (Negative Covenants) of the Partial Repayment Agreement,
                each as set forth in amended Section 7 of the Partial Repayment Agreement; and

        (iv)    extended Forbearance as set forth herein.

WHEREAS, after the DCG Parties have transmitted, and GGC has received, the Amendment
Effectiveness Payment (as defined below), GGC intends to file a motion with the Bankruptcy
Court seeking (i) entry of the Joint Stipulated Orders and Judgments and (ii) authority to take
actions in furtherance of the Partial Repayment Agreement.

NOW THEREFORE, in consideration of the covenants and conditions set forth in the Original
Partial Repayment Agreement and herein, it is agreed as follows:

   1.       Defined Terms.

            a. Section 1 of the Original Partial Repayment Agreement is hereby amended to add
               the following definitions in alphabetical order.

                   i. “Amendment” shall mean that certain Amendment to Partial Repayment
                      Agreement, dated as of November 28, 2023, by and between GGC, DCG
                      and DCGI.

                   ii. “Amendment Effective Date” has the meaning set forth in Section 6 of the
                       Amendment.

                  iii. “BCH” shall mean the cryptocurrency Bitcoin Cash.

                  iv. “Committee” shall mean the Official Committee of Unsecured Creditors in
                      the chapter 11 cases of Genesis Global Holdco, LLC, et al., Case No. 23-
                      10063 (SHL).

                   v. “DCG Security Agreement” shall mean that certain Security Agreement,
                      dated as of November 28, 2023, by and between GGC and DCG.

                  vi. “DCGI Security Agreement” shall mean that certain Security Agreement,
                      dated as of November 28, 2023, by and between GGC and DCGI.

                 vii. “ETHE” shall mean shares of Grayscale Ethereum Trust.



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               viii. “ETCG” shall mean shares of Grayscale Ethereum Classic Trust.

                ix. “Security Agreements” shall mean the DCG Security Agreement and the
                    DCGI Security Agreement.

        b. The definition of Forbearance Period is hereby deleted and replaced with the
           following:

           “Forbearance Period” shall mean the period commencing on (and including) the
           Partial Repayment Agreement Effective Date until the earlier of (i) occurrence of a
           Default and failure of the applicable DCG Party to cure such Default, to the extent
           such default can be cured by the terms of this Agreement, within the applicable
           time period, and (ii) April 1, 2024.

        c. The definition of Forbearance Termination Date is hereby deleted in its entirety.

        d. The definition of Forbearance Termination Event of Default is hereby deleted and
           replaced with the definition set forth herein.

        e. The definition of Material Adverse Change is hereby deleted and replaced with the
           following:

           “Material Adverse Change” means any circumstance, condition, or event that is not
           known by GGC as of the Amendment Effective Date that would reasonably be
           expected to materially and adversely affect (i) the business, assets, financial
           condition or results of operations, in each case, of DCG and its subsidiaries taken
           as a whole, or (ii) the ability of any DCG Party to perform its obligations under, or
           otherwise comply with any of the provisions of, this Agreement or the Loan
           Documents.

  2.    Agreements and Acknowledgements. Section 2(b) of the Original Partial Repayment
        Agreement is hereby deleted and replaced with the following:

           Each DCG Party acknowledges and agrees that, as of the Amendment Effective
           Date, (i) the aggregate outstanding principal amount of Loans under the DCG MLA
           is $324,500,000, (ii) the aggregate outstanding principal amount of Loans under the
           DCGI MLA is 2,737.77102141 BTC and 14,048 BCH, and (iii) the total
           outstanding amount of Late Fees under the DCGI MLA as of Monday, November
           28, 2023 is 10.12600241 BTC (the amounts in (i)-(iii) each an “Outstanding
           Undisputed Amount” and collectively the “Outstanding Undisputed Amounts”).
           Each of DCG and DCGI acknowledges, represents and warrants to GGC that such
           obligations are validly owed or owing under the respective MLAs, and each of




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           DCG and DCGI is obligated with respect to the DCG MLA or the DCGI MLA, as
           applicable.

  3.    Payment of Loans and Fees.

        a. Section 6(a) of the Original Partial Repayment Agreement is hereby deleted and
           replaced with the following:

                  (a)   The DCG Parties shall comply with their obligations in Section 6(d)
                  and make payments or transfers to GGC equal to the following amounts as
                  payments of the DCG Loans and the DCGI Loans (the “Repayment
                  Amount”), in accordance with the following payment schedule:

                                (i) within two (2) Business Days after the Amendment
                         Effective Date, $35,000,000 (the “Amendment Effectiveness
                         Payment”);

                                (ii) commencing on December 7, 2023 and on the fifth (5th)
                         Business Day of each calendar month thereafter, 50% of total digital
                         assets and cash paid to DCG as a dividend from Grayscale
                         Investments, LLC in the preceding calendar month in excess of
                         $10,000,000, which dividend shall be paid and calculated in
                         accordance with prior practice (the “Monthly Payment”);

                                 (iii) notwithstanding anything to the contrary in Section 3 of
                         the Partial Repayment Agreement, within two (2) Business Days of
                         the Amendment Effective Date, an amount of DCG’s proceeds from
                         the sale of CoinDesk, Inc. equal to the lesser of (x) $65,000,000 and
                         (y) the total proceeds from the sale of CoinDesk, Inc., net of
                         transaction costs for external advisors (the “CoinDesk Sale
                         Payment”);

                                  (iv) the later of thirty (30) days after the Plan Effective Date
                         and April 1, 2024, all Outstanding Undisputed Amounts owed under
                         the DCG Loans and the DCGI Loans to the extent not previously
                         paid pursuant to clauses (i)-(iii), other than in respect of (a) Late
                         Fees owed under the DCG Loans and (b) enforcement costs pursuant
                         to section XII of the DCG MLA and Section XII of the DCGI MLA
                         ((a) and (b) together, the “Disputed Amounts”), which Disputed
                         Amounts are subject to a mutual reservation of rights as to whether
                         or not they are due or payable (such payment, the “Final Payment”),
                         provided, however, that notwithstanding the foregoing, the Final
                         Payment shall be made no later than April 1, 2024;

                  provided, that the payments set forth in clauses (i)-(iv) above shall be made
                  77% in USD (the “USD Portion”) and 23% in BTC (the “BTC Portion”).
                  Any payments of the USD Portion made under this Section 6(a) will first
                  reduce the principal balance of the February 23 Loan until such balance is


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                   fully repaid, and next will reduce the principal balance of the May 9 Loan
                   until such balance is fully repaid, and next will reduce the principal balance
                   of the May 10 Loan. Any payments of the BTC Portion made under this
                   Section 6(a) will reduce the principal balance of the June 22 Loan. DCG
                   shall solely be responsible for the USD Portion and DCGI shall solely be
                   responsible for the BTC Portion. Notwithstanding anything to the contrary,
                   nothing shall impute joint or several liability to DCG with respect to the
                   BTC Portion, or to DCGI with respect to the USD Portion. BTC prices shall
                   be based on the respective BTC market prices at 8:00 p.m. prevailing
                   Eastern Time on the day before the applicable payment.

        b. Section 6(b) of the Original Partial Repayment Agreement is hereby amended to
           delete the phrase “and GGC agrees that the Forbearance Fee shall be credited
           against the USD Portion of the final $50,000,000 payment”.

        c. Section 6(d) of the Original Partial Repayment Agreement is hereby deleted and
           replaced with the following:

                   (d)      No later than fourteen (14) calendar days (or such later date as may
                   be agreed by GGC) after the Amendment Effective Date, DCG and DCGI
                   shall satisfy their obligations under clauses (iii) or (iv) of Section 2(a) of the
                   Security Agreements and GGC shall act reasonably, promptly and in good
                   faith to assist with any negotiation and execution of documentation in
                   connection therewith, and which obligations GGC shall be deemed to
                   satisfy if it executes: (i) a control agreement substantially in the form
                   attached hereto as Exhibit A; and (ii) a representation letter substantially in
                   the form attached hereto as Exhibit B; provided, that if either DCG or DCGI
                   are unable to satisfy their obligations under clauses (iii) or (iv) of Section
                   2(a) of the applicable Security Agreement, DCG and/or DCGI, as applicable,
                   shall have an additional three (3) Business Days (or such additional time as
                   GGC may agree) to satisfy their obligations under clauses (i) and (ii) of
                   Section 2(a) of the Security Agreements.

  4.    Transfer of Collateral. Notwithstanding anything herein or in the Security Agreements
        to the contrary, pursuant to Section 13 of this Amendment, the DCG Parties shall have
        the right to transfer, in their sole discretion and upon written notice (each, a “Voluntary
        Transfer Notice”), all or part of the Collateral (as defined in the Security Agreements)
        to GGC, at which time, such transferred Collateral shall be valued using the market
        prices as of 8:00 p.m. Eastern Time on the date of such written notice and GGC shall




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        apply the value of such transferred Collateral to the Outstanding Undisputed Amounts
        as specified in the Voluntary Transfer Notice (each, a “Voluntary Payment”).

  5.    Limited Forbearance.

        a. Section 4(a) of the Original Partial Repayment Agreement is hereby deleted and
           replaced with the following:

                   (a)      Except as otherwise provided in this Agreement, and subject to the
                   terms and conditions set forth in this Agreement, GGC agrees that during
                   the Forbearance Period it will not (i) further pursue or prosecute the
                   Turnover Actions, (ii) file any action in any jurisdiction and/or initiate any
                   legal proceeding to enforce any of its rights and remedies in respect of the
                   Specified Events of Default, or (iii) seek execution of either of the Joint
                   Stipulated Orders and Judgments (the “Forbearance”); provided that,
                   notwithstanding the Forbearance or anything to the contrary in this
                   Agreement, both GGC and the DCG Parties reserve their rights with respect
                   to whether there are Late Fees accruing on the Loans issued under the DCG
                   MLA; provided, further, that notwithstanding the Forbearance or anything
                   to the contrary in this Agreement, GGC reserves the right to assert that it is
                   entitled to (x) payment of any and all Loan Fees and Late Fees that may
                   become due under the applicable provisions of MLAs (it being understood
                   that DCG disputes that Late Fees are due under the DCG MLA) and (y)
                   reimbursement of all reasonable costs and expenses, including without
                   limitation, reasonable attorneys’ fees and court costs, broker fees, and
                   technology costs incurred by GGC in connection with the enforcement of
                   its rights under the MLAs, as applicable, in each case including during the
                   Forbearance Period.

        b. The following is hereby inserted as a new Section 4(h) of the Partial Repayment
           Agreement:

                   (h)     The Forbearance Period (as set forth in this Section 4) is hereby
                   extended until the earlier of (i) occurrence of a Default and failure of the
                   applicable DCG Party to cure such Default, to the extent such Default can
                   be cured by the terms of this Agreement, within the applicable time period,
                   and (ii) April 1, 2024.

  6.    Effectiveness of Amendment. This Amendment shall be effective immediately upon
        the satisfaction of each of the following conditions: (i) this Amendment has been duly
        executed and delivered by each of the Parties; (ii) GGC and DGC have executed the
        DCG Joint Stipulated Order and Judgment, which shall be filed with the Bankruptcy
        Court after GGC has received the Amendment Effectiveness Payment; (iii) GGC and
        DGCI have executed the DCGI Joint Stipulated Order and Judgment, which shall be
        filed with the Bankruptcy Court after GGC has received the Amendment Effectiveness
        Payment; and (iv) the DCG Parties and GGC shall have entered into the Security
        Agreements (such date that each of the foregoing conditions has been satisfied, the


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        “Amendment Effective Date”).

  7.    Existing Defaults. Section 9(b) of the Original Partial Repayment Agreement is hereby
        deleted in its entirety and replaced with the following:

                      (b)     Other than the Specified Events of Default, GGC is not aware of any
                      actual or potential default or Event of Default that has occurred and is
                      continuing in the MLAs or the Partial Repayment Agreement. During the
                      Forbearance Period, GGC shall forbear from exercising any rights and
                      remedies in respect of any actual or potential default or Event of Default
                      that has occurred and is continuing in the MLAs or the Partial Repayment
                      Agreement.

  8.    Default. Section 7 of the Original Partial Repayment Agreement is hereby deleted in
        its entirety and replaced with the following:

        a. Upon the occurrence of any one or more of the following events and a failure to
           cure within the applicable time period (each a “Default” or a “Forbearance
           Termination Event of Default”), GGC shall provide notice to the DCG Parties, in
           accordance with Section 11(i) of the Partial Repayment Agreement, of its intent to
           terminate the Forbearance Period, which termination shall become effective upon
           the delivery of a written notice of termination (the “Termination Notice”) to the
           DCG Parties:

                 i.   Any DCG Party fails to observe, perform or comply with, or is in breach
                      of, any covenant in Section 3 (Negative Covenants) and such failure or
                      breach is not cured (if curable) within fifteen (15) calendar days of (x)
                      delivery of a written notice by GGC or (y) any DCG Party having actual
                      knowledge of such breach or failure.

                ii.   Any DCG Party fails to make the payments or transfers set forth in the
                      Partial Repayment Agreement if such failure or breach is not cured within
                      three (3) Business Days.

               iii.   Any DCG Party fails to comply with its obligations under the applicable
                      Security Agreement or Section 6(d) of the Partial Repayment Agreement.

               iv.    The occurrence of a Material Adverse Change (the “MAC Default”);
                      provided, that GGC shall provide ten (10) days’ written notice of a MAC
                      Default to the DCG Parties (the “Notice Period”) and shall not take any
                      enforcement action with respect to the Collateral or seek to terminate the




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                        Partial Repayment Agreement or the Forbearance Period prior to the
                        expiration of the Notice Period.

               v.       The occurrence of any Event of Bankruptcy with respect to DCG or
                        DCGI.

               vi.      Conversion of the Debtors’ chapter 11 cases to cases under chapter 7 of
                        section 11 of the United States Code.

            vii.        Notification in writing by DCG or DCGI to GGC of DCG’s or DCGI’s
                        inability to, or intention not to, perform its obligations hereunder, or
                        disaffirmation, rejection, or repudiation by DCG or DCGI of its
                        obligations hereunder.

        b. Notwithstanding the foregoing or anything to the contrary in the MLAs, the
           Forbearance Period shall automatically be terminated without any action
           necessary by any Party upon the occurrence of an Event of Bankruptcy with
           respect to DCG or DCGI, or conversion of the Debtors’ chapter 11 cases to cases
           under chapter 7 of section 11 of the United States Code (either such event, an
           “Automatic Forbearance Termination Event”).

  9.    Terms of Original Partial Repayment Agreement Unchanged Except as Amended.
        Except as otherwise provided herein, the Original Partial Repayment Agreement shall
        remain unchanged and in full force and effect. On and after the date hereof, each
        reference in the Original Partial Repayment agreement or the Partial Repayment
        Agreement to “this Agreement”, “herein”, “hereof”, “hereunder” or words of similar
        import shall mean and be a reference to the Partial Repayment Agreement, as amended
        hereby, although it shall not alter the dates as of which any provision of the Partial
        Repayment Agreement speaks.

  10.   Provision of Grayscale Digital Asset and Cash Dividend Statement by DCG Parties.
        Section 3 of the Original Partial Repayment Agreement is hereby amended to add the
        following as a new sentence at the end of Section 3:

                     Prior to the fifth (5 th) Business Day of each month subsequent to the
                     Amendment Effective Date, the DCG Parties shall provide to the advisors to
                     GGC and the advisors to the Committee, on a confidential and professionals’-
                     eyes-only basis, a verified statement, signed by an officer of DCG, including a
                     calculation of the amount of digital assets and cash paid to DCG as a dividend
                     from Grayscale Investments, LLC in the previous calendar month.

  11.   Rights Regarding Luno Setoff Claim. Nothing in this Amendment or in the Partial
        Repayment Agreement shall operate as a waiver of (i) DCG’s rights, if any, to seek a
        reimbursement from GGC or any other person or entity or a declaratory judgment or
        enforcement of its setoff rights against GGC or any other person or entity on account
        of the Luno Setoff Dispute (as defined herein) or a claim for payment against GGC or
        any other person or entity of the amounts paid by DCG to Luno Australia Pty Ltd. on
        behalf of GGC on November 16, 2022, as identified in that certain Notice of Setoff,


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        dated December 15, 2022, in connection with that certain Limited Guaranty between
        DCG and Luno and any interest accrued on the setoff amount that has been paid by
        DCG to GGC (the “Luno Setoff Dispute”), or (ii) GGC’s rights or defenses, if any,
        with respect to the Luno Setoff Dispute.

  12.   Entry of Joint Stipulated Orders and Judgments. After execution of this Amendment,
        GGC shall file and seek entry of the Stipulated Orders and Judgments by the
        Bankruptcy Court in the amount of the Outstanding Undisputed Amounts owed by
        DCG and DCGI, respectively, plus any additional Loan Fees and Late Fees (other than
        any Disputed Amounts) accrued under the applicable MLA, less any payments made
        by DCG or DCGI under the MLAs, including any payments made pursuant to Section
        6(a) of the Partial Repayment Agreement, subsequent to the Amendment Effective
        Date (such total amounts, as against DCG, the “DCG Judgment Amount” and as against
        DCGI, the “DCGI Judgment Amount”).

  13.   Payment of Repayment Amount Prior to Timeline Agreed Herein. Notwithstanding
        anything contained herein, in the Partial Repayment Agreement or in DCG MLA or
        DCGI MLA, the DCG Parties may pay at any time, prior to the timeline articulated in
        Section 6(a) of the Partial Repayment Agreement, their respective obligations under
        the DCG MLA and DCGI MLA, as applicable, in whole or in part at any time, from
        time to time and without penalty or premium. The Partial Repayment Agreement shall
        terminate as to DCG upon full payment of the Outstanding Undisputed Amounts under
        the DCG MLA. The Partial Repayment Agreement shall terminate as to DCGI upon
        full payment of the Outstanding Undisputed Amounts under the DCGI MLA.

  14.   Reference to and Effect on Loan Documents.

        a. Ratification. As of the date hereof, each of DCG and DCGI hereby expressly
           acknowledges and agrees that all of the terms and conditions of, and their continued
           obligations and liability (including all of its payment and performance obligations,
           covenant obligations and obligation to indemnify, contingent or otherwise) under
           the MLAs and the other Loan Documents, as applicable, including the Partial
           Repayment Agreement are hereby ratified and confirmed and continue unchanged
           and in full force and effect, except as otherwise set forth herein.

  15.   Notice. The Original Partial Repayment Agreement is hereby amended to add the
        following as Section 11(i):

           (i)    Any notices to be provided pursuant to the Partial Repayment Agreement
           may be provided to the following email addresses and will be deemed effective
           upon receipt.

                   If to the DCG Parties: jeffrey.saferstein@weil.com; jessica.liou@weil.com

                   If to GGC: soneal@cgsh.com; jvanlare@cgsh.com




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  16.   Miscellaneous.

        a. Successors and Assigns. This Amendment shall be binding on and shall inure to
           the benefit of each of the Parties and their respective successors and permitted
           assigns to the same extent set forth in the Loan Documents.

        b. Entire Agreement. This Amendment and the Loan Documents, as amended hereby,
           constitute the entire agreement of the Parties with respect to the subject matter
           hereof and supersede all other understandings, oral or written, with respect to the
           subject matter hereof. In the event of a conflict between this Amendment and the
           Partial Repayment Agreement, the provisions of this Amendment will control.

        c. Headings. Section headings in this Amendment are included herein for
           convenience of reference only and shall not constitute a part of this Amendment for
           any other purpose.

        d. Severability. Wherever possible, each provision of this Amendment shall be
           interpreted in such a manner as to be effective and valid under applicable law, but
           if any provision of this Amendment shall be prohibited by or invalid under
           applicable law, such provision shall be ineffective to the extent of such prohibition
           or invalidity, without invalidating the remainder of such provision or the remaining
           provisions of this Amendment.

        e. Survival. Notwithstanding anything contained herein or in the Partial Repayment
           Agreement, if the Partial Repayment Agreement is terminated in accordance with
           Section 7 of the Partial Repayment Agreement, no provision of the Partial
           Repayment Agreement shall survive.

        f. Counterparts. This Amendment may be executed in any number of separate
           original counterparts and by way of electronic signature, each of which shall be
           deemed to be an original, but all of such counterparts shall together constitute one
           agreement. Delivery of an executed counterpart of a signature page to this
           Amendment by electronic mail in portable document format (.pdf) shall be effective
           as delivery of a manually executed counterpart of this Amendment. For the
           avoidance of doubt, the words “execution,” “signed,” “signature,” and words of
           like import in this Amendment shall be deemed to include electronic signatures or
           the keeping of records in electronic form, each of which shall be of the same legal
           effect, validity or enforceability as a manually executed signature or the use of a
           paper-based recordkeeping system, as the case may be, to the extent and as provided
           for in any applicable law, including the Federal Electronic Signatures in Global and
           National Commerce Act, the New York State Electronic Signatures and Records
           Act, or any other similar state laws based on the Uniform Electronic Transactions
           Act.

        g. Expenses. Without limiting any terms or provisions of the Loan Documents, the
           DCG Parties agree, jointly and severally, to pay promptly all reasonable and
           documented costs and expenses incurred by GGC in connection with the



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           enforcement or protection of GGC’s rights under this Amendment, including,
           without limitation, the reasonable fees, charges, and disbursements of GGC’s legal
           counsel.

        h. Governing Law; Jurisdiction; Waiver of Jury Trial. This Amendment and the rights
           and obligations of the Parties hereunder shall be governed by, and construed and
           interpreted in accordance with, the law of the State of New York, without giving
           effect to the principles of conflict of laws that would require the application of the
           law of any other jurisdiction. By its execution and delivery of this Amendment,
           each of the Parties hereby irrevocably and unconditionally agrees for itself that any
           legal action, suit, or proceeding against it with respect to any matter under or arising
           out of or in connection with this Amendment or for recognition or enforcement of
           any judgment rendered in any such action, suit, or proceeding, may be brought
           exclusively in the Bankruptcy Court. By execution and delivery of this Amendment,
           each of the Parties hereby irrevocably accepts and submits itself to the exclusive
           jurisdiction of the Bankruptcy Court, generally and unconditionally, with respect
           to any such action, suit or proceeding.                  EACH PARTY HERETO
           UNCONDITIONALLY WAIVES ANY RIGHT TO TRIAL BY JURY IN ANY
           LEGAL ACTION OR PROCEEDING ARISING OUT OF OR RELATING TO
           THIS AMENDMENT.

        i. Appointment of Process Agent. DCG hereby agrees that service of process in any
           such action or proceeding brought in connection with the DCG MLA, DCGI MLA,
           the Loan Agreements, the Turnover Actions, the Partial Repayment Agreement, or
           this Amendment, may be made upon it by serving a copy of any relevant pleadings
           on an agent designated by the DCG Parties (the “Designated Agent”), which shall
           be irrevocably appointed by the DCG Parties as its agent for service of process in
           respect of any such action or proceeding. Within two (2) Business Days of the
           Amendment Effective Date, the DCG Parties shall provide GGC with the identity
           and address of Designated Agent. The service, as herein provided, of such
           summons or other legal process in any such action or proceeding on the Designated
           Agent shall be deemed personal service and accepted by each of the DCG Parties
           as such, and shall be legal and binding on each of the DCG Parties for all the
           purposes of any such action or proceeding.

      [REMAINDER OF PAGE INTENTIONALLY LEFT BLANK; SIGNATURE PAGES FOLLOW]




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            IN WITNESS WHEREOF, the Parties have duly executed this Amendment as of the date first
            above written.

                                                             DIGITAL CURRENCY GROUP, INC.



                                                             By:
                                                                   Name: Simon Koster
                                                                   Title: Chief Strategy Officer


                                                             DCG INTERNATIONAL INVESTMENTS
                                                             LTD.



                                                             By:
                                                                   Name: Michael Katz
                                                                   Title: Legal Officer




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Accepted and agreed as of the date first set forth above.

HOLDER:

GENESIS GLOBAL CAPITAL, LLC



By:______________________________________
Name: Ahmed Derar Islim
Title: Interim CEO




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                                   Exhibit A
                               Control Agreement




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                                   CONTROL AGREEMENT AND
                         ACKNOWLEDGMENT OF PLEDGE AND SECURITY INTEREST


  Grantor:                                                                     Lender:




                  Continental Stock Transfer & Trust Company
    TO:          Attn: Michael Mullings
                 1 State Street, 30th Floor                                                                        DATE:
                  New York City, NY 10004



                                                     NOTICE TO TRANSFER AGENT

   RE:           Security Owner:
                 Account Number:
                 Description of Security:
                 Number of Shares:

   DEAR M ADAM OR SI R:
   This is to notify you that pursuant to a Pledge Agreement signed by ______________________________________________ (the
   "Owner(s)"), _______________________________________ ("Lender") has been granted a security interest in the above described security or
   securities (the "Securities"), for which you are the transfer agent. You are hereby notified of Lender's security interest, including the provision
   that the Securities, including all dividends in stock, stock splits and other proceeds are not to be paid to anyone other than to Lender until and
   unless you receive further written notice from Lender. Any regular cash dividends may be paid to the Owner(s), subject to further instructions
   from Lender as provided below. This pledge will remain in full force and effect until Lender notifies you in writing to the contrary. Please
   acknowledge receipt of this notice by signing and returning the attached control agreement and acknowledgment to Lender. This notice is dated
   _________________________________.


     ACCO UNT OWNER AUTHO RI ZATION:                                                    AUTHO RI ZED O FFI CER OF LENDER:


     X _________________________________                                                X _____________________________________

_____ Owner(s) Signature_______                                                         Authorized signature of Lender




         CONTROL AGREEMENT AND ACKNOWLEDGMENT OF PLEDGE AND SECURITY INTEREST
  We acknowledge receipt on ________________ , 20___ of the above notice of Lender's security interest in the above -described Securities,
  and we will mark our records, by book-entry or otherwise, to indicate the pledge of, and Lender's security interest in, the Securities. To the
  best of our knowledge, and except for Lender's secu rity interest or as noted below, and as of the date hereof (a) the Securities are identified on
  our books and records, by book-entry or otherwise, as being owned by _____________________________; (b) we have identified on our books
  and records the Securities as being pledged to _____________________________; (c) we have not confirmed any interest in the Securities to
  any persons other than to the Owner(s) and Lender; (d) our records do not indicate any adverse claims concerning the Securities nor do they
  indicate any person, other than Owner(s) and Lender, as having any interest in the Securities; (e) we have not created, nor have we received
  notice of any liens, claims or encumbrances with respect to the Securities, except to Lender; (f) we agree not to eff ect any transfer of the
  Owner(s)' interest in any of the Securities without Lender's prior written consent; (g) should we receive further written notice from Lender, we
  will hold the Securities and all dividends, distributions, and other proceeds relating to the Securities (whether in cash, securities or other
  property) subject to Lender's written instructions. We will comply with all written instructions originated by Lender concern ing the Securities
  without further consent by the Owner(s) except that any transfer of the Securities will require a medallion guaranteed stock power executed by
  the Owner(s). It is suggested that the medallion guaranteed stock power is kept with the Pledge documents in case of a defaul t/foreclosure.
  Exceptions:




CONTINENTAL STOCK TRANSFER & TRUST COMPANY

                                                                                  By:
X __________________________                  _________________
  Authorized Officer (Signature)              Date
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                                   Exhibit B
                              Representation Letter




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Gunderson Dettmer LLP
One Bush Street, Suite 1200
San Francisco, California 94104

Re: Pledges of Shares of Common Units or Equal, Fractional, Undivided Interests, as
applicable (the “Shares”) of the Sponsored Entities (as defined below)

Ladies and Gentlemen:

Digital Currency Group, Inc. and DCG International Investments Ltd. (the “Shareholders”) which
hold shares representing common units of the Grayscale Ethereum Trust and the Grayscale
Ethereum Classic Trust (collectively, the “Sponsored Entities”) propose to pledge (the “Pledges”)
shares representing common units or equal, fractional, undivided interests, as applicable, of the
Sponsored Entities (the “Pledged Shares”) pursuant to the applicable Partial Repayment
Agreements, dated as of September 12, 2023 (as amended, supplemented, or otherwise modified
from time to time) and the related Security Agreements as defined therein (collectively, as may be
amended, modified or supplemented from time to time, the “Repayment Documents”) between
each Shareholder and Genesis Global Capital, LLC (together with its affiliates, “Genesis”).
Grayscale Investments, LLC, as the sponsor of the Sponsored Entities (the “Sponsor”), has
requested an opinion of counsel as a condition to delivering its consent to the Pledges. For the
avoidance of doubt “Pledged Shares” shall also include any Shares of Grayscale sponsored entities
added pursuant to any amendments or supplements to the Security Agreements.

Accordingly, in connection therewith, the undersigned, an authorized signatory of Genesis,
represents and warrants to you on behalf of Genesis that:

        1.      Investment Representations. Any sale of Pledged Shares in satisfaction of the
obligations secured by the Pledges will be (a) pursuant to private transactions for the account of
the Shareholders for investment and not be with a view to, or for sale in connection with, any
unregistered distribution, resale or public offering of such Pledged Shares or any part thereof in
violation of the Securities Act of 1933, as amended (the "Act"), (b) pursuant to another exemption
from registration under the Act, or (c) pursuant to a registration statement for such transaction
that is effective under the Act.. The Pledged Shares were not pledged, and will not be offered or
sold, with any form of general advertising or general solicitation. The transfers of the Pledged
Shares in connection with any defaults under the Repayment Documents will not violate any law
or regulation applicable to Genesis.

       2.      Investment Experience: Access to Information. Genesis (a) is an investor familiar
with the business and financial condition of the Sponsored Entities, (b) has such knowledge and
experience in financial and business matters as to be capable of evaluating the merits and risks of
this investment and make an informed decision to so invest, (c) has the ability to bear the economic
risks of an investment in the Pledged Shares, (d) has received such disclosure regarding the
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Sponsored Entities, their business, financial condition and prospects as the undersigned has
determined to be necessary in connection with the Pledges and the acquisition of the Pledged
Shares in the event of foreclosure of the Pledged Shares, and (e) is an “accredited investor” as that
term is defined under Rule 501(a) under Regulation D under the Act (the provisions of which are
known to the undersigned).

       3.      Restrictions on Transfer. The undersigned understands that (a) in the event of any
defaults under the Repayment Documents, Genesis would cause the Shareholders to sell the
Pledged Shares in transactions that are exempt from registration under the Act, or the securities
laws of any state; (b) the Pledged Shares are and will be “restricted securities” as such term is
defined in Rule 144 of the Act; (c) the Pledged Shares may not be sold, pledged or otherwise
transferred unless a registration statement for such transaction is effective under the Act and any
applicable state securities laws, or unless exemptions from such registration provisions are
available with respect to such transactions; and (d) the certificates or book-entry positions for the
Pledged Shares will bear a legend to the effect that their transfer is subject to the provisions of the
Act and that no such transfer is permitted except pursuant to an exemption from registration under
the Act, accompanied by an opinion of legal counsel that such sale qualifies for an exemption from
registration.

       4.      The representations and warranties set forth herein shall terminate and shall be of
no further effect at such time as, and to the extent, the Pledged Shares become eligible for resale
pursuant to Rule 144 under the Act.

      5.        The undersigned hereby agrees and acknowledges that the representations and
warranties set forth herein may and will be relied upon by Gunderson Dettmer Stough Villeneuve
Franklin & Hachigian, LLP for the purpose of rendering the legal opinion to the Sponsor with
respect to the Pledges of the Pledged Shares.

This letter shall serve as our standing representation letter to you in connection with the Pledges and
you need not require further letters from us to deliver such opinion of counsel. We undertake to notify
you immediately of any occurrence that would render any of the foregoing inaccurate.

Sincerely yours,

GENESIS GLOBAL CAPITAL, LLC

By:
Name:
Title:
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                                    Annex A
                       DCG Stipulated Order and Judgment




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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF NEW YORK


    In re:                                                    Chapter 11

    Genesis Global Holdco, LLC, et al., 1                     Case No.: 23-10063 (SHL)

                                    Debtors.                  Jointly Administered



    Genesis Global Capital, LLC,                              Adv. Pro. No. 23-01168 (SHL)

                                    Plaintiff,

    v.

    Digital Currency Group, Inc.

                                    Defendant.


                    STIPULATED ORDER AND JUDGMENT REGARDING
                LIABILITY OF DCG UNDER MASTER LENDING AGREEMENT

             Upon the submission by Genesis Global Capital, LLC (“GGC”) and Digital Currency

Group, Inc. (“DCG”) of this stipulated order, and the Court having jurisdiction over this matter

pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the

United States District Court for the Southern District of New York dated January 31, 2012; and

the parties having stipulated to the jurisdiction and venue of this Court for entry of a final

judgment in this matter; and the Court having found that adequate notice of this stipulated order

and notice has been provided; and the Court having found that it may enter a final order

consistent with Article III of the United States Constitution; and the Court having determined


1
        The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s tax identification
number (or equivalent identifier), are: Genesis Global Holdco, LLC (8219); Genesis Global Capital, LLC (8564);
and Genesis Asia Pacific Pte. Ltd. (2164R). For the purpose of these Chapter 11 Cases, the service address for the
Debtors is 250 Park Avenue South, 5th Floor, New York, NY 10003.


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that the legal and factual bases set forth herein establish just cause for the relief herein granted;

and upon all of the proceedings had before the Court, and after due deliberation and sufficient

cause appearing therefor,

         THE COURT HEREBY FINDS THAT

      A. As of the date of execution of that certain Amendment to Partial Repayment Agreement

         (such agreement attached hereto as Exhibit 1 and such Amendment attached hereto as

         Exhibit 2), 2 certain specified Events of Default under that certain Amended and Restated

         Master Loan Agreement (the “DCG MLA”), dated as of November 10, 2022, by and

         between Genesis Global Capital, LLC (“GGC”), as Lender, and DCG, as Borrower, had

         occurred and were continuing, including the failure of DCG to return any and all amounts

         outstanding under the loans extended pursuant to the DCG MLA (such loans, the “DCG

         Loans”).

      B. GGC has asserted that certain amounts are due and owing under the DCG Loans,

         including Late Fees under section III(c) of the DCG MLA and enforcement costs

         pursuant to section XII of the DCG MLA, which DCG disputes (the “Disputed

         Amounts”).

      C. As of November 28, 2023, the aggregate outstanding principal amount of the DCG Loans

         that is immediately due and owing to GGC is $324,500,000 (the “DCG Judgment

         Amount”).

      D. GGC and DCG have agreed that DCG’s rights, if any, to seek a reimbursement from

         GGC or any other person or entity or a declaratory judgment or enforcement of its setoff




2
      Capitalized terms not otherwise defined herein shall have the meanings given to them in the Partial
Repayment Agreement and the Amendment.


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     rights against GGC or any other person or entity on account of the Luno Setoff Dispute

     (as defined below) or a claim for payment against GGC or any other person or entity of

     the amounts paid by DCG to Luno Australia Pty Ltd. on behalf of GGC on November 16,

     2022, as identified in that certain Notice of Setoff, dated December 15, 2022, in

     connection with that certain Limited Guaranty between DCG and Luno, and any interest

     accrued on the setoff amount that has been paid by DCG to GGC (the “Luno Setoff

     Dispute”), or (ii) GGC’s rights or defenses with respect to the foregoing, shall remain

     unaffected notwithstanding the DCG Judgment Amount.

     IT IS HEREBY ORDERED THAT

  1. GGC is awarded a judgment against DCG for the DCG Judgment Amount, as reduced by

     any amounts that have been and are paid to GGC in respect of the DCG Loans as set forth

     in the Amendment.

  2. Nothing in this Order shall affect the Parties’ rights with respect to the Disputed Amounts

     or any amounts at issue under the DCG Loans in addition to the DCG Judgment Amount.

  3. Nothing in this Order shall affect DCG’s or GGC’s rights with respect to the Luno Setoff

     Dispute.

  4. Notwithstanding anything to the contrary in this Order or in the Amendment, this Order

     shall be effective and enforceable only upon the Court’s entry of an order approving the

     Debtors’ entry into the Amendment in its entirety; provided, further, that if the Court

     denies the Debtors’ request to enter into the Amendment in its entirety, this Order shall

     be deemed automatically withdrawn and null and void effective immediately.

  5. This Order shall be binding on each of the Parties and their respective successors and

     permitted assigns.



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  6. This Court shall retain jurisdiction to, among other things, interpret, implement, and

     enforce the terms and provisions of this Order.



DIGITAL CURRENCY GROUP, INC.                      GENESIS GLOBAL CAPITAL, LLC

By:                         __________            By:______________________________________
Name:                                             Name: A. Derar Islim
Title:                                            Title:  Interim CEO




Dated:    ________________, 2023               ______________________________
          White Plains, New York               The Honorable Sean H. Lane
                                               United States Bankruptcy Judge




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                6. This Court shall retain jurisdiction to, among other things, interpret, implement, and

                    enforce the terms and provisions of this Order.



             DIGITAL CURRENCY GROUP, INC.                    GENESIS GLOBAL CAPITAL, LLC

             By:                                             By:______________________________________
             Name: Simon Koster                              Name:
             Title: Chief Strategy Officer                   Title:




             Dated:       ________________, 2023                ________________________________
                          White Plains, New York                The Honorable Sean H. Lane
                                                                United States Bankruptcy Judge




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                                    Annex B
                       DCGI Stipulated Order and Judgment




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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF NEW YORK


    In re:                                                    Chapter 11

    Genesis Global Holdco, LLC, et al., 3                     Case No.: 23-10063 (SHL)

                                    Debtors.                  Jointly Administered



    Genesis Global Capital, LLC,                              Adv. Pro. No. 23-01169 (SHL)

                                    Plaintiff,

    v.

    DCG International Investments Ltd.

                                    Defendant.


                    STIPULATED ORDER AND JUDGMENT REGARDING
                LIABILITY OF DCGI UNDER MASTER LENDING AGREEMENT

             Upon the submission by Genesis Global Capital, LLC (“GGC”) and DCG International

Investments Ltd. (“DCGI”) of this stipulated order, and the Court having jurisdiction over this

matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference

from the United States District Court for the Southern District of New York dated January 31,

2012; and the parties having stipulated to the jurisdiction and venue of this Court for entry of a

final judgment in this matter; and the Court having found that it may enter a final order

consistent with Article III of the United States Constitution; and the Court having found that

adequate notice of this stipulated order and notice has been provided; and the Court having


3
        The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s tax identification
number (or equivalent identifier), are: Genesis Global Holdco, LLC (8219); Genesis Global Capital, LLC (8564);
and Genesis Asia Pacific Pte. Ltd. (2164R). For the purpose of these Chapter 11 Cases, the service address for the
Debtors is 250 Park Avenue South, 5th Floor, New York, NY 10003.


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determined that the legal and factual bases set forth herein establish just cause for the relief

herein granted; and upon all of the proceedings had before the Court, and after due deliberation

and sufficient cause appearing therefor,

         THE COURT HEREBY FINDS THAT

      A. As of the date of execution of that certain Amendment to Partial Repayment Agreement

         (such agreement attached hereto as Exhibit 1 and such Amendment attached hereto as

         Exhibit 2), 4 certain specified Events of Default under that certain Master Loan

         Agreement (the “DCGI MLA”), dated as of June 21, 2019, by and between Genesis

         Global Capital, LLC (“GGC”), as Lender, and DCGI, as Borrower, had occurred and

         were continuing, including the failure of DCGI to return any and all amounts outstanding

         under the loans extended pursuant to the DCGI MLA (such loans, the “DCGI Loans”).

      B. GGC has asserted that certain amounts are due and owing under the DCGI Loans,

         including enforcement costs pursuant to section XII of the DCG MLA, which DCG

         disputes (the “Disputed Amounts”).

      C. As of November 28, 2023, the aggregate outstanding principal amount of the DCGI

         Loans that is immediately due and owing to GGC is 2,737.77102141 BTC and 14,048

         BCH, and the total outstanding amount of Late Fees under the DCGI MLA is

         10.12600241 BTC (such amounts collectively, the “DCGI Judgment Amount”).

         IT IS HEREBY ORDERED THAT

      1. GGC is awarded a judgment against DCGI for the DCGI Judgment Amount, as reduced

         by any amounts that are paid to GGC in respect of the DCGI Loans as set forth in the




4
      Capitalized terms not otherwise defined herein shall have the meanings given to them in the Partial
Repayment Agreement and the Amendment.


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     Amendment. For the avoidance of doubt, the DCGI Judgment Amount is denominated,

     and shall be paid, in BTC and BCH.

  2. Nothing in this Order shall affect the Parties’ rights with respect to the Disputed Amounts

     or any amounts at issue under the DCGI Loans in addition to the DCGI Judgment

     Amount.

  3. Notwithstanding anything to the contrary in this Order or in the Amendment, this Order

     shall be effective and enforceable only upon the Court’s entry of an order approving the

     Debtors’ entry into the Amendment in its entirety; provided, further, that if the Court

     denies the Debtors’ request to enter into the Amendment in its entirety, this Order shall

     be deemed automatically withdrawn and null and void effective immediately.

  4. This Order shall be binding on each of the Parties and their respective successors and

     permitted assigns.

  5. This Court shall retain jurisdiction to, among other things, interpret, implement, and

     enforce the terms and provisions of this Order.



DCG INTERNATIONAL INVESTMENTS                      GENESIS GLOBAL CAPITAL, LLC
LTD.
                                                   By:______________________________________
By:                          ___________           Name: A. Derar Islim
Name:                                              Title: Interim CEO
Title:



Dated:    ________________, 2023                ______________________________
          White Plains, New York                The Honorable Sean H. Lane
                                                United States Bankruptcy Judge




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                    Amendment. For the avoidance of doubt, the DCGI Judgment Amount is denominated,

                    and shall be paid, in BTC and BCH.

                2. Nothing in this Order shall affect the Parties’ rights with respect to the Disputed Amounts

                    or any amounts at issue under the DCGI Loans in addition to the DCGI Judgment

                    Amount.

                3. Notwithstanding anything to the contrary in this Order or in the Amendment, this Order

                    shall be effective and enforceable only upon the Court’s entry of an order approving the

                    Debtors’ entry into the Amendment in its entirety; provided, further, that if the Court

                    denies the Debtors’ request to enter into the Amendment in its entirety, this Order shall

                    be deemed automatically withdrawn and null and void effective immediately.

                4. This Order shall be binding on each of the Parties and their respective successors and

                    permitted assigns.

                5. This Court shall retain jurisdiction to, among other things, interpret, implement, and

                    enforce the terms and provisions of this Order.



             DCG INTERNATIONAL                               GENESIS GLOBAL CAPITAL, LLC
             INVESTMENTS LTD.
                                                             By:______________________________________
             By:                                             Name:
             Name: Michael Katz                              Title:
             Title: Legal Officer



             Dated:       ________________, 2023                ________________________________
                          White Plains, New York                The Honorable Sean H. Lane
                                                                United States Bankruptcy Judge




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                                                                   Executed Version

                                    SECURITY AGREEMENT

                 This SECURITY AGREEMENT (this “Security Agreement”) dated as of
  November 28, 2023 is between Digital Currency Group, Inc. (“Pledgor”) and Genesis Global
  Capital, LLC (“Secured Party”).

                  WHEREAS, reference is made to (i) that certain Partial Repayment Agreement,
  dated as of September 12, 2023 (as amended, supplemented, or otherwise modified from time to
  time, the “PRA”), by and between Secured Party, Pledgor, and DCG International Investments
  Ltd. (“DCGI”) and (ii) that certain Amendment to Partial Repayment Agreement, dated as of
  November 28, 2023 (the “PRA Amendment”), by and between Secured Party, Pledgor, and
  DCGI;

                   WHEREAS, Pledgor wishes to pledge to Secured Party and grant Secured Party
  a security interest in Collateral (as defined below) to secure all of the Secured Obligations (as
  defined below);

                 NOW, THEREFORE, in consideration of Secured Party entering into the PRA
  Amendment and for other good and valuable consideration, the receipt and sufficiency of which
  are hereby acknowledged, the parties hereto agree as follows:

                  Section 1. Definitions. Capitalized terms used in this Security Agreement and
  not otherwise defined herein shall have the meanings in the PRA or the PRA Amendment, as
  applicable. As used in this Security Agreement, the following terms have the respective
  meanings set forth below:

                  “Collateral” means all Collateral Shares, all accounts to which any Collateral
  Shares are credited, and all proceeds of any of the foregoing and all distributions thereon.

                   “Secured Obligations” means all unsatisfied obligations of Pledgor or DCGI to
  pay or transfer the Outstanding Undisputed Amounts to Secured Party in accordance with the
  PRA Amendment.

                  Section 2. Transfer and Pledge of Collateral.

                    (a)     The parties agree that by no later than the time specified in the PRA (as
  amended by the PRA Amendment), Pledgor shall cause the number of ETHE Shares and ETCG
  Shares set forth on Exhibit A hereto to be (i) registered in the name of the Secured Party, or (ii)
  credited to a securities account in the name of the Secured Party (any shares described in (i) and
  (ii), “Transferred Collateral”), or (iii) registered in the name of the Pledgor and subject to an
  issuer control agreement in form and substance satisfactory to the Secured Party, or (iv) credited
  to a securities account in the name of the Pledgor and subject to a securities account control
  agreement in form and substance satisfactory to the Secured Party (any shares described in clause
  (iii) or (iv), the “Control Agreement Collateral” and all shares described in clauses (i)-(iv), the
  “Collateral Shares”). If any transfer agent for Collateral Shares described in clause (iii) of this
  Section 2(a) requires the provision of a medallion guarantee stock power, Pledgor shall provide
  such stock power to Secured Party, which stock power must be undated.

                  (b)     As security for the prompt payment and performance in full when due
  (whether at stated maturity, by acceleration or otherwise) of the Secured Obligations, Pledgor
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  hereby pledges to Secured Party and grants to Secured Party a first priority continuing security
  interest in and lien on all of Pledgor’s right, title and interest in and to the Collateral.

                   (c)     Upon the discharge in full of the Secured Obligations, the security
  interests under the Security Agreement shall be automatically terminated and released and
  Secured Party shall promptly (i) return to Pledgor all Transferred Collateral and (ii) take any and
  all reasonable steps within Secured Party’s power to terminate any control agreement applicable
  to the Control Agreement Collateral (the steps described in (i) and (ii) collectively, the
  “Release”). By no later than the end of the third Business Day (as defined in the DCG MLA)
  following the discharge in full of the Secured Obligations, Secured Party will effectuate the
  Release. Secured Party agrees to take any additional steps as may from time to time reasonably
  be requested by Pledgor to evidence the release of the Collateral.

                  Section 3. Use of Collateral. Secured Party agrees that, until a Default occurs,
  Secured Party will not have the right to sell, pledge, rehypothecate, assign, or dispose of the
  Collateral; provided, however, that if Pledgor transfers the Collateral Shares to Secured Party
  through a Voluntary Payment (as defined herein), Secured Party shall apply the Collateral Shares
  to the Outstanding Undisputed Amount as set forth in the Voluntary Transfer Notice (as defined
  herein).

                   Section 4. Further Assurances. Pledgor shall execute, deliver, file and record
  any financing statement, specific assignment or other document and take any other action that
  may be necessary or desirable and reasonably requested by Secured Party to create, preserve,
  perfect or validate any security interest or lien granted under this Security Agreement, or to
  enable Secured Party to exercise or enforce its rights under this Security Agreement with respect
  to Collateral. Pledgor shall also promptly give notice to Secured Party of, and defend against, at
  its own cost and expense, any suit, action, proceeding, lien, claim, or demands that could
  adversely affect the security interest granted hereunder.

                  Section 5. Representations and Warranties. Pledgor represents and warrants to
  Secured Party, as of the date hereof and until the discharge in full of all Secured Obligations, that:

                  (a)      Pledgor has the power to grant the security interest set forth herein and
  has taken all necessary actions to authorize the granting of such security interest;

                   (b)      Pledgor is the sole owner of the Collateral, and the Collateral is free and
  clear of any security interest, lien, encumbrance, or other restriction, other than restrictions
  relating to the Collateral Shares arising under the Securities Act of 1933, as amended (the
  “Securities Act”), as a result of Pledgor being an “affiliate” of the issuer of the Collateral Shares,
  Pledgor’s “holding period” with respect to the Collateral Shares within the meaning of Rule 144
  under the Securities Act began more than one year before the date hereof;

                   (c)     Upon the completion of the steps described in Section 2(a) of this
  Security Agreement, Secured Party shall have a valid and perfected first priority security interest
  in the Collateral as security for the full and prompt payment and performance when due of the
  Secured Obligations; and

                 (d)      The execution and delivery of this Security Agreement, Pledgor’s
  performance of its obligations hereunder, and the security interest set forth herein do not
  contravene any law, rule, or regulation, judgment, decree, order of a tribunal, agreement, or

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  instrument to which Pledgor is a party or to which Pledgor or any of Pledgor’s property is subject
  or constitute a default or similar condition thereunder.

                 Section 6. Secured Party’s Rights and Remedies. If at any time a Default has
  occurred, Secured Party may exercise any and all of the following rights and remedies, all such
  rights and remedies being cumulative or any rights of Secured Party and its affiliates under the
  Loan Documents, or otherwise:

                   (a)      the right to set off any amounts payable by Pledgor with respect to any
  Secured Obligations against any Collateral (or any obligation of Secured Party to transfer that
  Collateral) as set forth in this Security Agreement;

                   (b)     the right to liquidate any Collateral through one or more public or private
  sales or other dispositions, free from any claim or right of any nature whatsoever of Pledgor,
  including any equity or right of redemption by Pledgor (with Secured Party having the right to
  purchase any such Collateral) and apply the proceeds of such liquidation and any cash Collateral
  to the Secured Obligations in accordance with Section 7 of this Security Agreement;

                  (c)     the right to collect any amounts paid or distributions in respect of the
  Collateral and apply them to the Outstanding Undisputed Amounts as set forth in this Security
  Agreement; and

                  (d)     any other rights or remedies Secured Party may have at law, contract, or
  equity (including under the Uniform Commercial Code as in effect in any relevant jurisdiction
  (the “UCC”)).

           Without limiting the generality of the foregoing, if, in the opinion of Secured Party, there
  is any question that a public sale or distribution of any Collateral will violate any state or federal
  securities law, including without limitation, the Securities Act, Secured Party may offer and sell
  such Collateral in a transaction exempt from registration under the Securities Act, and any such
  sale made in good faith by Secured Party shall be deemed “commercially reasonable.”
  Furthermore, Pledgor (A) acknowledges that any such restricted or private sales may be at prices
  and on terms less favorable to Pledgor than those obtainable through a public sale without such
  restrictions, (B) agrees such sales shall not be considered to be not commercially reasonable
  solely because they are so conducted on a restricted or private basis and (C) (I) acknowledges that
  Secured Party or its affiliate may purchase (through a credit bid or otherwise) Collateral itself
  following a customary book-build process (including if Secured Party offers such Collateral in
  such customary book-build process on a restricted or private basis), (II) agrees that any such sale
  following any such customary book-build process shall constitute a “public sale” for UCC
  purposes, and (III) in the event that any such sale following any such customary book-build
  process is determined, notwithstanding the foregoing agreement, not to constitute a “public sale”
  for UCC purposes, waives Section 9-610(c) of the UCC to the extent inconsistent with Secured
  Party’s or any of its affiliate’s so purchasing in any such sale. Pledgor further acknowledges that
  any specific disclaimer of any warranty of title or the like by Secured Party will not be considered
  to adversely affect the commercial reasonableness of any sale of Collateral.




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                   Section 7. Application of Proceeds. The proceeds of any collection, sale,
  liquidation, or other realization of all or any part of the Collateral pursuant hereto shall be
  applied:

                    (a)     First, to the payment of the reasonable costs and expenses of such
  collection, sale, or other realization, including reasonable out-of-pocket costs and expenses of
  Secured Party and the reasonable fees and expenses of its agents and counsel;

               (b)     Second, to the payment and satisfaction in full of the Outstanding
  Undisputed Amounts under the DCG Loans;

               (c)     Third, to the payment and satisfaction in full of the Outstanding
  Undisputed Amounts under the DCGI Loans;

                  (d)      Finally, to Pledgor, its successors or assigns, or as a court of competent
  jurisdiction may direct, of any surplus then remaining. Pledgor shall be liable for all Secured
  Obligations that remain unsatisfied after the exercise of rights and remedies by Secured Party.

                     Section 8. Conveyance of Collateral. Notwithstanding anything contained
  herein or in the PRA Amendment, Pledgor shall have the right to convey to Secured Party all of
  its right, title, and interest in and to, in its sole discretion and upon written notice (each, a
  “Voluntary Transfer Notice”), all or part of the Collateral to Secured Party, at which time, such
  transferred Collateral shall be valued using the market prices as of 8:00 p.m. Eastern Time on the
  date of such written notice and Secured Party shall apply the value of such conveyed Collateral as
  set forth in the Voluntary Transfer Notice (the “Voluntary Payment”). Upon receipt of the
  Voluntary Transfer Notice, Secured Party shall deliver an instruction letter to the transfer agent
  instructing the transfer of the Collateral identified in the Voluntary Transfer Notice. For the
  avoidance of doubt, Secured Party will not be required to effectuate a Release in respect of any
  Collateral conveyed to Secured Party hereunder.

                   Section 9. Appointment. Pledgor hereby irrevocably appoints Secured Party
  (such appointment being coupled with an interest) as Pledgor’s attorney-in-fact, with full
  authority in the place and stead of Pledgor and in the name of Pledgor, Secured Party, or
  otherwise during a Default to take any action and to execute any instrument as it may deem
  reasonably necessary or advisable to accomplish the purposes of this Security Agreement,
  including without limitation to take any of the actions set forth in Section 6 above.

                   Section 10. Waivers by Pledgor. Pledgor agrees that, to the extent permitted by
  applicable law, all rights of Secured Party hereunder and the grant of a security interest in the
  Collateral will be absolute, irrevocable, and unconditional irrespective of:




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                (a)          any claim as to the genuineness, validity, regularity or enforceability of
  the Loan Documents;

                   (b)       the lack of authority of DCGI to execute or deliver any Loan Documents
  to which it is a party;

                   (c)     any change in the time, manner or place of payment of, or in any other
  term of, all of or any of the Secured Obligations, or any other amendment, modification,
  extension, or waiver of or any consent to any departure from the Loan Documents;

                  (d)      any change in the corporate existence, structure or ownership of DCGI,
  or any liquidation, dissolution, insolvency, reorganization or other similar proceeding affecting
  DCGI;

                  (e)       any change in the technology, software, protocol, or other similar change
  affecting the Collateral;

                     (f)     any release of any Collateral, or any guarantee or other credit support in
  respect thereof;

                   (g)     any setoff, counterclaim, or defense of any kind or nature which may be
  available to or asserted by Pledgor against Secured Party or any of its affiliates;

                   (h)    any law, rule, regulation, decree or order of any jurisdiction, any change
  in any of the foregoing, or any other event, affecting any term of DCGI’s obligations under the
  Loan Documents or Secured Party’s rights with respect thereto; or

                   (i)     any other circumstance whatsoever that might otherwise constitute a
  defense available to, or a discharge of, Pledgor or DCGI in respect of the Secured Obligations
  (other than the indefeasible payment in full of all such obligations).

                   Section 11. Successors and Assigns. This Security Agreement shall be binding
  on and shall inure to the benefit of each of the parties hereto and their respective successors and
  assigns to the same extent set forth in the Loan Documents.

                  Section 12. Entire Agreement. This Security Agreement and the Loan
  Documents constitute the entire agreement of the parties with respect to the subject matter hereof
  and supersede all other understandings, oral or written, with respect to the subject matter hereof;
  provided, however, that to the extent there are any conflicts between this Security Agreement and
  the PRA Amendment, the terms of the PRA Amendment shall govern.

                 Section 13. Headings. Section headings in this Security Agreement are included
  herein for convenience of reference only and shall not constitute a part of this Security
  Agreement for any other purpose.

                   Section 14. Severability. Wherever possible, each provision of this Security
  Agreement shall be interpreted in such a manner as to be effective and valid under applicable law,
  but if any provision of this Security Agreement shall be prohibited by or invalid under applicable
  law, such provision shall be ineffective to the extent of such prohibition or invalidity, without
  invalidating the remainder of such provision or the remaining provisions of this Security
  Agreement.
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                  Section 15. Counterparts. This Security Agreement may be executed in any
  number of separate original counterparts and by way of electronic signature, each of which shall
  be deemed to be an original, but all of such counterparts shall together constitute one agreement.
  Delivery of an executed counterpart of a signature page to this Security Agreement by electronic
  mail in portable document format (.pdf) shall be effective as delivery of a manually executed
  counterpart of this Security Agreement. For the avoidance of doubt, the words “execution,”
  “signed,” “signature,” and words of like import in this Security Agreement shall be deemed to
  include electronic signatures or the keeping of records in electronic form, each of which shall be
  of the same legal effect, validity or enforceability as a manually executed signature or the use of a
  paper-based recordkeeping system, as the case may be, to the extent and as provided for in any
  applicable law, including the Federal Electronic Signatures in Global and National Commerce
  Act, the New York State Electronic Signatures and Records Act, or any other similar state laws
  based on the Uniform Electronic Transactions Act.

                   Section 16. Expenses. Without limiting any terms or provisions of the Loan
  Documents, Pledgor agrees to pay promptly all reasonable and documented costs and expenses
  incurred by Secured Party in connection with the enforcement or protection of Secured Party’s
  rights under this Security Agreement, including, without limitation, the reasonable fees, charges,
  and disbursements of Secured Party’s legal counsel.

                    Section 17. Governing Law; Jurisdiction; Waiver of Jury Trial. This Security
  Agreement and the rights and obligations of the parties hereunder shall be governed by, and
  construed and interpreted in accordance with, the law of the State of New York, without giving
  effect to the principles of conflict of laws that would require the application of the law of any
  other jurisdiction. By its execution and delivery of this Security Agreement, each of the parties
  hereto hereby irrevocably and unconditionally agrees for itself that any legal action, suit, or
  proceeding against it with respect to any matter under or arising out of or in connection with this
  Security Agreement or for recognition or enforcement of any judgment rendered in any such
  action, suit, or proceeding, may be brought exclusively in the Bankruptcy Court. By execution
  and delivery of this Security Agreement, each of the parties hereto hereby irrevocably accepts and
  submits itself to the exclusive jurisdiction of the Bankruptcy Court, generally and
  unconditionally, with respect to any such action, suit or proceeding. EACH PARTY HERETO
  UNCONDITIONALLY WAIVES ANY RIGHT TO TRIAL BY JURY IN ANY LEGAL
  ACTION OR PROCEEDING ARISING OUT OF OR RELATING TO THIS AMENDMENT.

                   Section 18. Appointment of Process Agent. Pledgor hereby agrees that service
  of process in any such action or proceeding brought in connection with this Security Agreement
  may be made upon it by serving a copy of any relevant pleadings on the Designated Agent. The
  service, as herein provided, of such summons or other legal process in any such action or
  proceeding on the Designated Agent shall be deemed personal service and accepted by Pledgor as
  such, and shall be legal and binding on each of Pledgor for all the purposes of any such action or
  proceeding.



                    [REMAINING SPACE INTENTIONALLY LEFT BLANK;
                       SIGNATURES TO FOLLOW ON NEXT PAGE]




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                                IN WITNESS WHEREOF, the parties hereto have caused this Security
                 Agreement to be duly executed and delivered as of the day and year first above written.




                                                                         Digital Currency Group, Inc.


                                                                         By:
                                                                               Name: Simon Koster
                                                                               Title: Chief Strategy Officer




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                                        Genesis Global Capital, LLC


                                               By:
                                                     Name: A. Derar Islim
                                                     Title: Interim CEO




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                                     EXHIBIT A


                                     (Collateral)




                                         Collateral ETCG   Collateral ETHE
                                              Shares            Shares




                Quantity of Shares          1,548,717          37,917




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                                                                   Executed Version

                                    SECURITY AGREEMENT

                  This SECURITY AGREEMENT (this “Security Agreement”) dated as of
  November 28, 2023 is between DCG International Investments Ltd. (“Pledgor”) and Genesis
  Global Capital, LLC (“Secured Party”).

                  WHEREAS, reference is made to (i) that certain Partial Repayment Agreement,
  dated as of September 12, 2023 (as amended, supplemented, or otherwise modified from time to
  time, the “PRA”), by and between Secured Party, Pledgor, and Digital Currency Group, Inc.
  (“DCG”) and (ii) that certain Amendment to Partial Repayment Agreement, dated as of
  November 28, 2023 (the “PRA Amendment”), by and between Secured Party, Pledgor, and DCG;

                   WHEREAS, Pledgor wishes to pledge to Secured Party and grant Secured Party
  a security interest in Collateral (as defined below) to secure all of the Secured Obligations (as
  defined below);

                 NOW, THEREFORE, in consideration of Secured Party entering into the PRA
  Amendment and for other good and valuable consideration, the receipt and sufficiency of which
  are hereby acknowledged, the parties hereto agree as follows:

                  Section 1. Definitions. Capitalized terms used in this Security Agreement and
  not otherwise defined herein shall have the meanings in the PRA or the PRA Amendment, as
  applicable. As used in this Security Agreement, the following terms have the respective
  meanings set forth below:

                  “Collateral” means all Collateral Shares, all accounts to which any Collateral
  Shares are credited, and all proceeds of any of the foregoing and all distributions thereon.

                   “Secured Obligations” means all unsatisfied obligations of Pledgor or DCG to
  pay or transfer the Outstanding Undisputed Amounts to Secured Party in accordance with the
  PRA Amendment.

                  Section 2. Transfer and Pledge of Collateral.

                    (a)     The parties agree that by no later than the time specified in the PRA (as
  amended by the PRA Amendment), Pledgor shall cause the number of ETHE Shares and ETCG
  Shares set forth on Exhibit A hereto to be (i) registered in the name of the Secured Party, or (ii)
  credited to a securities account in the name of the Secured Party (any shares described in (i) and
  (ii), “Transferred Collateral”), or (iii) registered in the name of the Pledgor and subject to an
  issuer control agreement in form and substance satisfactory to the Secured Party, or (iv) credited
  to a securities account in the name of the Pledgor and subject to a securities account control
  agreement in form and substance satisfactory to the Secured Party (any shares described in clause
  (iii) or (iv), the “Control Agreement Collateral” and all shares described in clauses (i)-(iv), the
  “Collateral Shares”). If any transfer agent for Collateral Shares described in clause (iii) of this
  Section 2(a) requires the provision of a medallion guarantee stock power, Pledgor shall provide
  such stock power to Secured Party, which stock power must be undated.

                  (b)     As security for the prompt payment and performance in full when due
  (whether at stated maturity, by acceleration or otherwise) of the Secured Obligations, Pledgor

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  hereby pledges to Secured Party and grants to Secured Party a first priority continuing security
  interest in and lien on all of Pledgor’s right, title and interest in and to the Collateral.

                   (c)     Upon the discharge in full of the Secured Obligations, the security
  interests under the Security Agreement shall be automatically terminated and released and
  Secured Party shall promptly (i) return to Pledgor all Transferred Collateral and (ii) take any and
  all reasonable steps within Secured Party’s power to terminate any control agreement applicable
  to the Control Agreement Collateral (the steps described in (i) and (ii) collectively, the
  “Release”). By no later than the end of the third Business Day (as defined in the DCG MLA)
  following the discharge in full of the Secured Obligations, Secured Party will effectuate the
  Release. Secured Party agrees to take any additional steps as may from time to time reasonably
  be requested by Pledgor to evidence the release of the Collateral.

                  Section 3. Use of Collateral. Secured Party agrees that, until a Default occurs,
  Secured Party will not have the right to sell, pledge, rehypothecate, assign, or dispose of the
  Collateral; provided, however, that if Pledgor transfers the Collateral Shares to Secured Party
  through a Voluntary Payment (as defined herein), Secured Party shall apply the Collateral Shares
  to the Outstanding Undisputed Amount as set forth in the Voluntary Transfer Notice (as defined
  herein).

                   Section 4. Further Assurances. Pledgor shall execute, deliver, file and record
  any financing statement, specific assignment or other document and take any other action that
  may be necessary or desirable and reasonably requested by Secured Party to create, preserve,
  perfect or validate any security interest or lien granted under this Security Agreement, or to
  enable Secured Party to exercise or enforce its rights under this Security Agreement with respect
  to Collateral. Pledgor shall also promptly give notice to Secured Party of, and defend against, at
  its own cost and expense, any suit, action, proceeding, lien, claim, or demands that could
  adversely affect the security interest granted hereunder.

                  Section 5. Representations and Warranties. Pledgor represents and warrants to
  Secured Party, as of the date hereof and until the discharge in full of all Secured Obligations, that:

                  (a)      Pledgor has the power to grant the security interest set forth herein and
  has taken all necessary actions to authorize the granting of such security interest;

                   (b)      Pledgor is the sole owner of the Collateral, and the Collateral is free and
  clear of any security interest, lien, encumbrance, or other restriction, other than restrictions
  relating to the Collateral Shares arising under the Securities Act of 1933, as amended (the
  “Securities Act”), as a result of Pledgor being an “affiliate” of the issuer of the Collateral Shares,
  Pledgor’s “holding period” with respect to the Collateral Shares within the meaning of Rule 144
  under the Securities Act began more than one year before the date hereof;

                   (c)     Upon the completion of the steps described in Section 2(a) of this
  Security Agreement, Secured Party shall have a valid and perfected first priority security interest
  in the Collateral as security for the full and prompt payment and performance when due of the
  Secured Obligations; and

                 (d)      The execution and delivery of this Security Agreement, Pledgor’s
  performance of its obligations hereunder, and the security interest set forth herein do not
  contravene any law, rule, or regulation, judgment, decree, order of a tribunal, agreement, or

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  instrument to which Pledgor is a party or to which Pledgor or any of Pledgor’s property is subject
  or constitute a default or similar condition thereunder.

                 Section 6. Secured Party’s Rights and Remedies. If at any time a Default has
  occurred, Secured Party may exercise any and all of the following rights and remedies, all such
  rights and remedies being cumulative or any rights of Secured Party and its affiliates under the
  Loan Documents, or otherwise:

                   (a)      the right to set off any amounts payable by Pledgor with respect to any
  Secured Obligations against any Collateral (or any obligation of Secured Party to transfer that
  Collateral) as set forth in this Security Agreement;

                   (b)     the right to liquidate any Collateral through one or more public or private
  sales or other dispositions, free from any claim or right of any nature whatsoever of Pledgor,
  including any equity or right of redemption by Pledgor (with Secured Party having the right to
  purchase any such Collateral) and apply the proceeds of such liquidation and any cash Collateral
  to the Secured Obligations in accordance with Section 7 of this Security Agreement;

                  (c)     the right to collect any amounts paid or distributions in respect of the
  Collateral and apply them to the Outstanding Undisputed Amounts as set forth in this Security
  Agreement; and

                  (d)     any other rights or remedies Secured Party may have at law, contract, or
  equity (including under the Uniform Commercial Code as in effect in any relevant jurisdiction
  (the “UCC”)).

           Without limiting the generality of the foregoing, if, in the opinion of Secured Party, there
  is any question that a public sale or distribution of any Collateral will violate any state or federal
  securities law, including without limitation, the Securities Act, Secured Party may offer and sell
  such Collateral in a transaction exempt from registration under the Securities Act, and any such
  sale made in good faith by Secured Party shall be deemed “commercially reasonable.”
  Furthermore, Pledgor (A) acknowledges that any such restricted or private sales may be at prices
  and on terms less favorable to Pledgor than those obtainable through a public sale without such
  restrictions, (B) agrees such sales shall not be considered to be not commercially reasonable
  solely because they are so conducted on a restricted or private basis and (C) (I) acknowledges that
  Secured Party or its affiliate may purchase (through a credit bid or otherwise) Collateral itself
  following a customary book-build process (including if Secured Party offers such Collateral in
  such customary book-build process on a restricted or private basis), (II) agrees that any such sale
  following any such customary book-build process shall constitute a “public sale” for UCC
  purposes, and (III) in the event that any such sale following any such customary book-build
  process is determined, notwithstanding the foregoing agreement, not to constitute a “public sale”
  for UCC purposes, waives Section 9-610(c) of the UCC to the extent inconsistent with Secured
  Party’s or any of its affiliate’s so purchasing in any such sale. Pledgor further acknowledges that
  any specific disclaimer of any warranty of title or the like by Secured Party will not be considered
  to adversely affect the commercial reasonableness of any sale of Collateral.




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                   Section 7. Application of Proceeds. The proceeds of any collection, sale,
  liquidation, or other realization of all or any part of the Collateral pursuant hereto shall be
  applied:

                    (a)     First, to the payment of the reasonable costs and expenses of such
  collection, sale, or other realization, including reasonable out-of-pocket costs and expenses of
  Secured Party and the reasonable fees and expenses of its agents and counsel;

               (b)     Second, to the payment and satisfaction in full of the Outstanding
  Undisputed Amounts under the DCGI Loans;

               (c)     Third, to the payment and satisfaction in full of the Outstanding
  Undisputed Amounts under the DCG Loans;

                  (d)      Finally, to Pledgor, its successors or assigns, or as a court of competent
  jurisdiction may direct, of any surplus then remaining. Pledgor shall be liable for all Secured
  Obligations that remain unsatisfied after the exercise of rights and remedies by Secured Party.

                     Section 8. Conveyance of Collateral. Notwithstanding anything contained
  herein or in the PRA Amendment, Pledgor shall have the right to convey to Secured Party all of
  its right, title, and interest in and to, in its sole discretion and upon written notice (each, a
  “Voluntary Transfer Notice”), all or part of the Collateral to Secured Party, at which time, such
  transferred Collateral shall be valued using the market prices as of 8:00 p.m. Eastern Time on the
  date of such written notice and Secured Party shall apply the value of such conveyed Collateral as
  set forth in the Voluntary Transfer Notice (the “Voluntary Payment”). Upon receipt of the
  Voluntary Transfer Notice, Secured Party shall deliver an instruction letter to the transfer agent
  instructing the transfer of the Collateral identified in the Voluntary Transfer Notice. For the
  avoidance of doubt, Secured Party will not be required to effectuate a Release in respect of any
  Collateral conveyed to Secured Party hereunder.

                   Section 9. Appointment. Pledgor hereby irrevocably appoints Secured Party
  (such appointment being coupled with an interest) as Pledgor’s attorney-in-fact, with full
  authority in the place and stead of Pledgor and in the name of Pledgor, Secured Party, or
  otherwise during a Default to take any action and to execute any instrument as it may deem
  reasonably necessary or advisable to accomplish the purposes of this Security Agreement,
  including without limitation to take any of the actions set forth in Section 6 above.

                   Section 10. Waivers by Pledgor. Pledgor agrees that, to the extent permitted by
  applicable law, all rights of Secured Party hereunder and the grant of a security interest in the
  Collateral will be absolute, irrevocable, and unconditional irrespective of:




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                (a)          any claim as to the genuineness, validity, regularity or enforceability of
  the Loan Documents;

                   (b)       the lack of authority of DCG to execute or deliver any Loan Documents
  to which it is a party;

                   (c)     any change in the time, manner or place of payment of, or in any other
  term of, all of or any of the Secured Obligations, or any other amendment, modification,
  extension, or waiver of or any consent to any departure from the Loan Documents;

                  (d)      any change in the corporate existence, structure or ownership of DCG, or
  any liquidation, dissolution, insolvency, reorganization or other similar proceeding affecting
  DCG;

                  (e)       any change in the technology, software, protocol, or other similar change
  affecting the Collateral;

                     (f)     any release of any Collateral, or any guarantee or other credit support in
  respect thereof;

                   (g)     any setoff, counterclaim, or defense of any kind or nature which may be
  available to or asserted by Pledgor against Secured Party or any of its affiliates;

                  (h)     any law, rule, regulation, decree or order of any jurisdiction, any change
  in any of the foregoing, or any other event, affecting any term of DCG’s obligations under the
  Loan Documents or Secured Party’s rights with respect thereto; or

                   (i)     any other circumstance whatsoever that might otherwise constitute a
  defense available to, or a discharge of, Pledgor or DCG in respect of the Secured Obligations
  (other than the indefeasible payment in full of all such obligations).

                   Section 11. Successors and Assigns. This Security Agreement shall be binding
  on and shall inure to the benefit of each of the parties hereto and their respective successors and
  assigns to the same extent set forth in the Loan Documents.

                  Section 12. Entire Agreement. This Security Agreement and the Loan
  Documents constitute the entire agreement of the parties with respect to the subject matter hereof
  and supersede all other understandings, oral or written, with respect to the subject matter hereof;
  provided, however, that to the extent there are any conflicts between this Security Agreement and
  the PRA Amendment, the terms of the PRA Amendment shall govern.

                 Section 13. Headings. Section headings in this Security Agreement are included
  herein for convenience of reference only and shall not constitute a part of this Security
  Agreement for any other purpose.

                   Section 14. Severability. Wherever possible, each provision of this Security
  Agreement shall be interpreted in such a manner as to be effective and valid under applicable law,
  but if any provision of this Security Agreement shall be prohibited by or invalid under applicable
  law, such provision shall be ineffective to the extent of such prohibition or invalidity, without
  invalidating the remainder of such provision or the remaining provisions of this Security
  Agreement.
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                  Section 15. Counterparts. This Security Agreement may be executed in any
  number of separate original counterparts and by way of electronic signature, each of which shall
  be deemed to be an original, but all of such counterparts shall together constitute one agreement.
  Delivery of an executed counterpart of a signature page to this Security Agreement by electronic
  mail in portable document format (.pdf) shall be effective as delivery of a manually executed
  counterpart of this Security Agreement. For the avoidance of doubt, the words “execution,”
  “signed,” “signature,” and words of like import in this Security Agreement shall be deemed to
  include electronic signatures or the keeping of records in electronic form, each of which shall be
  of the same legal effect, validity or enforceability as a manually executed signature or the use of a
  paper-based recordkeeping system, as the case may be, to the extent and as provided for in any
  applicable law, including the Federal Electronic Signatures in Global and National Commerce
  Act, the New York State Electronic Signatures and Records Act, or any other similar state laws
  based on the Uniform Electronic Transactions Act.

                   Section 16. Expenses. Without limiting any terms or provisions of the Loan
  Documents, Pledgor agrees to pay promptly all reasonable and documented costs and expenses
  incurred by Secured Party in connection with the enforcement or protection of Secured Party’s
  rights under this Security Agreement, including, without limitation, the reasonable fees, charges,
  and disbursements of Secured Party’s legal counsel.

                    Section 17. Governing Law; Jurisdiction; Waiver of Jury Trial. This Security
  Agreement and the rights and obligations of the parties hereunder shall be governed by, and
  construed and interpreted in accordance with, the law of the State of New York, without giving
  effect to the principles of conflict of laws that would require the application of the law of any
  other jurisdiction. By its execution and delivery of this Security Agreement, each of the parties
  hereto hereby irrevocably and unconditionally agrees for itself that any legal action, suit, or
  proceeding against it with respect to any matter under or arising out of or in connection with this
  Security Agreement or for recognition or enforcement of any judgment rendered in any such
  action, suit, or proceeding, may be brought exclusively in the Bankruptcy Court. By execution
  and delivery of this Security Agreement, each of the parties hereto hereby irrevocably accepts and
  submits itself to the exclusive jurisdiction of the Bankruptcy Court, generally and
  unconditionally, with respect to any such action, suit or proceeding. EACH PARTY HERETO
  UNCONDITIONALLY WAIVES ANY RIGHT TO TRIAL BY JURY IN ANY LEGAL
  ACTION OR PROCEEDING ARISING OUT OF OR RELATING TO THIS AMENDMENT.

                   Section 18. Appointment of Process Agent. Pledgor hereby agrees that service
  of process in any such action or proceeding brought in connection with this Security Agreement
  may be made upon it by serving a copy of any relevant pleadings on the Designated Agent. The
  service, as herein provided, of such summons or other legal process in any such action or
  proceeding on the Designated Agent shall be deemed personal service and accepted by Pledgor as
  such, and shall be legal and binding on each of Pledgor for all the purposes of any such action or
  proceeding.



                    [REMAINING SPACE INTENTIONALLY LEFT BLANK;
                       SIGNATURES TO FOLLOW ON NEXT PAGE]




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                               IN WITNESS WHEREOF, the parties hereto have caused this Security
                Agreement to be duly executed and delivered as of the day and year first above written.




                                                                        DCG International Investments Ltd.


                                                                        By:
                                                                              Name: Michael Katz
                                                                              Title: Legal Officer




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                                        Genesis Global Capital, LLC


                                               By:
                                                     Name: A. Derar Islim
                                                     Title: Interim CEO




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                                     EXHIBIT A


                                     (Collateral)




                                         Collateral ETCG   Collateral ETHE
                                              Shares            Shares




                Quantity of Shares          1,422,175         4,830,343




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                                  EXHIBIT D
                            Consent Judgment Against
                                      DCG
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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF NEW YORK


    In re:                                                    Chapter 11

    Genesis Global Holdco, LLC, et al., 1                     Case No.: 23-10063 (SHL)

                                    Debtors.                  Jointly Administered



    Genesis Global Capital, LLC,                              Adv. Pro. No. 23-01168 (SHL)

                                    Plaintiff,

    v.

    Digital Currency Group, Inc.

                                    Defendant.


                    STIPULATED ORDER AND JUDGMENT REGARDING
                LIABILITY OF DCG UNDER MASTER LENDING AGREEMENT

             Upon the submission by Genesis Global Capital, LLC (“GGC”) and Digital Currency

Group, Inc. (“DCG”) of this stipulated order, and the Court having jurisdiction over this matter

pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the

United States District Court for the Southern District of New York dated January 31, 2012; and

the parties having stipulated to the jurisdiction and venue of this Court for entry of a final

judgment in this matter; and the Court having found that adequate notice of this stipulated order

and notice has been provided; and the Court having found that it may enter a final order

consistent with Article III of the United States Constitution; and the Court having determined


1
        The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s tax identification
number (or equivalent identifier), are: Genesis Global Holdco, LLC (8219); Genesis Global Capital, LLC (8564);
and Genesis Asia Pacific Pte. Ltd. (2164R). For the purpose of these Chapter 11 Cases, the service address for the
Debtors is 250 Park Avenue South, 5th Floor, New York, NY 10003.


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that the legal and factual bases set forth herein establish just cause for the relief herein granted;

and upon all of the proceedings had before the Court, and after due deliberation and sufficient

cause appearing therefor,

         THE COURT HEREBY FINDS THAT

      A. As of the date of execution of that certain Amendment to Partial Repayment Agreement

         (such agreement attached hereto as Exhibit 1 and such Amendment attached hereto as

         Exhibit 2), 2 certain specified Events of Default under that certain Amended and Restated

         Master Loan Agreement (the “DCG MLA”), dated as of November 10, 2022, by and

         between Genesis Global Capital, LLC (“GGC”), as Lender, and DCG, as Borrower, had

         occurred and were continuing, including the failure of DCG to return any and all amounts

         outstanding under the loans extended pursuant to the DCG MLA (such loans, the “DCG

         Loans”).

      B. GGC has asserted that certain amounts are due and owing under the DCG Loans,

         including Late Fees under section III(c) of the DCG MLA and enforcement costs

         pursuant to section XII of the DCG MLA, which DCG disputes (the “Disputed

         Amounts”).

      C. As of November 28, 2023, the aggregate outstanding principal amount of the DCG Loans

         that is immediately due and owing to GGC is $324,500,000 (the “DCG Judgment

         Amount”).

      D. GGC and DCG have agreed that DCG’s rights, if any, to seek a reimbursement from

         GGC or any other person or entity or a declaratory judgment or enforcement of its setoff




2
      Capitalized terms not otherwise defined herein shall have the meanings given to them in the Partial
Repayment Agreement and the Amendment.


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     rights against GGC or any other person or entity on account of the Luno Setoff Dispute

     (as defined below) or a claim for payment against GGC or any other person or entity of

     the amounts paid by DCG to Luno Australia Pty Ltd. on behalf of GGC on November 16,

     2022, as identified in that certain Notice of Setoff, dated December 15, 2022, in

     connection with that certain Limited Guaranty between DCG and Luno, and any interest

     accrued on the setoff amount that has been paid by DCG to GGC (the “Luno Setoff

     Dispute”), or (ii) GGC’s rights or defenses with respect to the foregoing, shall remain

     unaffected notwithstanding the DCG Judgment Amount.

     IT IS HEREBY ORDERED THAT

  1. GGC is awarded a judgment against DCG for the DCG Judgment Amount, as reduced by

     any amounts that have been and are paid to GGC in respect of the DCG Loans as set forth

     in the Amendment.

  2. Nothing in this Order shall affect the Parties’ rights with respect to the Disputed Amounts

     or any amounts at issue under the DCG Loans in addition to the DCG Judgment Amount.

  3. Nothing in this Order shall affect DCG’s or GGC’s rights with respect to the Luno Setoff

     Dispute.

  4. Notwithstanding anything to the contrary in this Order or in the Amendment, this Order

     shall be effective and enforceable only upon the Court’s entry of an order approving the

     Debtors’ entry into the Amendment in its entirety; provided, further, that if the Court

     denies the Debtors’ request to enter into the Amendment in its entirety, this Order shall

     be deemed automatically withdrawn and null and void effective immediately.

  5. This Order shall be binding on each of the Parties and their respective successors and

     permitted assigns.



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  6. This Court shall retain jurisdiction to, among other things, interpret, implement, and

     enforce the terms and provisions of this Order.



DIGITAL CURRENCY GROUP, INC.                      GENESIS GLOBAL CAPITAL, LLC

By:                         __________            By:______________________________________
Name:                                             Name: A. Derar Islim
Title:                                            Title:  Interim CEO




Dated:    ________________, 2023               ______________________________
          White Plains, New York               The Honorable Sean H. Lane
                                               United States Bankruptcy Judge




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                6. This Court shall retain jurisdiction to, among other things, interpret, implement, and

                    enforce the terms and provisions of this Order.



             DIGITAL CURRENCY GROUP, INC.                    GENESIS GLOBAL CAPITAL, LLC

             By:                                             By:______________________________________
             Name: Simon Koster                              Name:
             Title: Chief Strategy Officer                   Title:




             Dated:       ________________, 2023                ________________________________
                          White Plains, New York                The Honorable Sean H. Lane
                                                                United States Bankruptcy Judge




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                                   EXHIBIT E
                                 Proposed Order
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK



    In re:
                                                                  Chapter 11
                                                1
    Genesis Global Holdco, LLC, et al.,
                                                                  Case No. 23-10063 (SHL)
                           Debtors.


    Genesis Global Capital, LLC,

                           Plaintiff,

              v.                                                  Adv. Proc. No. 23-01168 (SHL)

    Digital Currency Group, Inc.,

                           Defendant.


                ORDER AUTHORIZING GGC TO TAKE ACTIONS
         IN FURTHERANCE OF THE PARTIAL REPAYMENT AGREEMENT
     WITH THE DCG PARTIES PURSUANT TO SECTION 105(a) AND 363(b) OF THE
    BANKRUPTCY CODE, OR IN THE ALTERNATIVE, BANKRPUTCY RULE 9019(a)

                     Upon the Motion2 of Genesis Global Holdco, LLC and its affiliates Genesis

Global Capital, LLC (“GGC”) and Genesis Asia Pacific Pte. Ltd., as debtors and debtors-in-

possession in the above-captioned cases (collectively, the “Debtors,” and the cases, the “Chapter

11 Cases”), for entry of an order (this “Order”) authorizing GGC to take actions in furtherance of

the Partial Repayment Agreement with the DCG Parties and upon the Declaration of Thomas

Conheeney in Support of Debtors’ Motion for Entry of (I) Consent Judgment Against the DCG

Parties and (II) Order Authorizing, to the Extent Necessary, GGC to Take Actions in


1
         The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s tax identification
number (or equivalent identifier), are: Genesis Global Holdco, LLC (“Holdco”) (8219); Genesis Global Capital, LLC
(“GGC”) (8564); and Genesis Asia Pacific Pte. Ltd. (“GAP”) (2164R). For the purpose of these Chapter 11 Cases,
the service address for the Debtors is 175 Greenwich Street, Floor 38, New York, NY 10007.
2
             All capitalized terms used and not defined herein shall have the meanings ascribed to them in the Motion.
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Furtherance of the Partial Repayment Agreement Pursuant to Sections 105(a) and 363(b) of the

Bankruptcy Code, or, in the Alternative, Bankruptcy Rule 9019(a); and the Court having

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order of Reference from the United States District Court for the Southern District of New York

dated January 31, 2012; and the Court having found that this is a core proceeding pursuant to 28

U.S.C. § 157(b)(2) and that the Court may enter a final order consistent with Article III of the

United States Constitution; and the Court having found that venue of this proceeding and the

Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having

found that the relief requested in the Motion is in the best interests of the Debtors, their estates,

their creditors and other parties in interest; and the Court having found that the Debtors’ notice of

the Motion and opportunity for a hearing on the Motion was appropriate and no other notice need

be provided; and the Court having reviewed the Motion and the Conheeney Declaration and

having heard the statements in support of the relief requested therein at a hearing before the

Court (the “Hearing”); and the Court having determined that the legal and factual bases set forth

in the Motion and on the record of the Hearing establish just cause for the relief granted herein;

and all objections to the Motion (if any) having been withdrawn or overruled; and upon all of the

proceedings had before the Court; and after due deliberation and sufficient cause appearing

therefor;

               IT IS ADJUGED, FOUND, AND DETERMINED THAT:

               A.      The facts and arguments set forth in the Motion constitute a sufficient

basis for entry of this Order.

               B.      The Court has jurisdiction over this Motion and the transactions

contemplated by the Partial Repayment Agreement pursuant to 28 U.S.C. §§ 157 and 1334, and



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this matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) and (M). Venue of these

cases and the Motion in this district is proper under 28 U.S.C. §§ 1408 and 1409. The statutory

predicates for the relief sought in the Motion are sections 105(a) and 363 of the Bankruptcy Code

and Fed. R. Bankr. P. 2002, 6004 and 9019.

               C.      Due, proper, timely, adequate and sufficient notice of the Motion and the

use of assets contemplated thereby has been provided in accordance with sections 102(1) and

363 of the Bankruptcy Code and Fed. R. Bankr. P. 2002 and 6004; such notice was good and

sufficient, and appropriate under the particular circumstances; and no other or further notice of

the Motion or use of assets contemplated thereby is or shall be required.

               D.      Performance in furtherance of the Partial Repayment Agreement is in the

best interests of the Debtors, their estates, and their creditors. The terms of the Partial Repayment

Agreement are fair and evidence good faith, arms’ length negotiations.

               E.      Accordingly, performance in furtherance of the Partial Repayment

Agreement reflects the Debtors’ exercise of sound business judgment pursuant to section 363(b)

of the Bankruptcy Code.

               F.      Similarly, performance in furtherance of the Partial Repayment

Agreement is within the range of reasonableness pursuant to Bankruptcy Rule 9019(a).

               G.      The Debtors’ performance under the Partial Repayment Agreement is

appropriate under the circumstances.

               IT IS HEREBY ORDERED THAT:

               The Motion is GRANTED to the extent set forth herein.




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               1.      All objections to the Motion or the relief requested therein that have not

been withdrawn, waived or settled, and all reservations of rights included therein, are hereby

overruled.

               2.      Pursuant to section 363(b) of the Bankruptcy Code, the Partial Repayment

Agreement, and all terms and conditions thereof, and all transactions contemplated thereby, are

approved in all respects, to the extent required.

               3.      Alternatively, the Partial Repayment Agreement, and all terms and

conditions thereof, and all transactions contemplated thereby, are approved in all respects, to the

extent required, pursuant to Bankruptcy Rule 9019.

               4.      The Debtors are authorized to execute and deliver, and empowered to

perform under, any additional instruments, documents and agreements that may be reasonably

necessary or desirable in order to implement, or otherwise in connection with, the Partial

Repayment Agreement, and to take all further actions as may be necessary or appropriate to the

performance of its obligations as contemplated by the Partial Repayment Agreement.

               5.      The Court shall enter the Consent Judgment against DCG as a separate

entry on the adversary docket for the DCG Turnover Action.

               6.      The provisions of the Partial Repayment Agreement are incorporated

herein by reference and shall be effective and binding as though fully set forth herein. The

failure to include or reference any term of the Partial Repayment Agreement in this Order shall

not diminish or impair the effectiveness of such provisions of the agreement which shall be

approved and enforceable in their entirety.




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               7.       Nothing herein shall constitute an assumption, adoption, or rejection by

any of the Debtors of any executory contract or agreement between any Debtor or Debtors and

any third party.

               8.       This Order shall be binding in all respects upon, and shall inure to the

benefit of, the Debtors, their estates, their creditors, DCG and its respective affiliates, successors,

and assigns, and any affected third parties, notwithstanding the subsequent appointment of any

trustee(s) under any chapter of the Bankruptcy Code, as to which trustee(s) this Order likewise

shall be binding.

               9.       The terms and provisions of this Order shall be immediately effective and

enforceable upon its entry. The effectiveness of this Order shall not be stayed pursuant to Rule

6004(h) of the Federal Rules of Bankruptcy Procedure or otherwise.

               10.      The Debtors’ claims agent, Kroll Restructuring Administration, and the

clerk of this Court are authorized to take all actions necessary and appropriate to give effect to

this Order and the Partial Repayment Agreement.

               11.      This Court shall retain jurisdiction with respect to any matters, claims,

rights or disputes arising from or related to the Motion or the implementation, interpretation or

enforcement of this Order.



 Dated: _____________, 2023
        New York, New York

                                                        HONORABLE SEAN H. LANE
                                                        UNITED STATES BANKRUPTCY JUDGE




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